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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                                 §
    In re                                                        §    Chapter 11
                                                                 §
    CORE SCIENTIFIC, INC., et al.,                               §    Case No. 22-90341 (CML)
                                                                 §
                   Debtors 1.                                    §    (Jointly Administered)
                                                                 §
                                                                      Adv. Pro. No. 23-____
                                                                 §
    CORE SCIENTIFIC, INC., et al.,                               §
                                                                 §
                   Plaintiffs,                                   §
                                                                 §
    v.                                                           §
                                                                 §
    SPHERE 3D CORP. and GRYPHON DIGITAL                          §
    MINING, INC.,                                                §
                                                                 §
                                                                 §
                   Defendants.
                                                                 §




                COMPLAINT FOR DAMAGES AND DECLARATORY RELIEF
           AGAINST SPHERE 3D CORP. AND GRYPHON DIGITAL MINING, INC.
         AND IN SUPPORT OF OBJECTION TO PROOFS OF CLAIM NOS. 358 AND 359




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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are as follows: Core Scientific Mining LLC (6971); Core Scientific, Inc. (3837); Core Scientific Acquired
Mining LLC (N/A); Core Scientific Operating Company (5526); Radar Relay, Inc. (0496); Core Scientific Specialty
Mining (Oklahoma) LLC (4327); American Property Acquisition, LLC (0825); Starboard Capital LLC (6677);
RADAR LLC (5106); American Property Acquisitions I, LLC (9717); and American Property Acquisitions, VII, LLC
(3198). The Debtors’ corporate headquarters and service address is 210 Barton Springs Road, Suite 300, Austin, Texas
78704.
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                   Core Scientific Operating Company f/k/a Core Scientific, Inc. (“Core”) and its

Debtor affiliates (collectively, the “Debtors”) 2 in the above-captioned chapter 11 cases and as

Plaintiffs in the above-captioned adversary proceeding, hereby file this complaint (the

“Complaint”) against Sphere 3D Corp. (“Sphere”) and Gryphon Digital Mining Inc.

(“Gryphon”) seeking damages and declaratory relief.                      The Debtors additionally file this

Complaint in support of the Debtors’ Objection to Proofs of Claim Nos. 358 and 359 Filed by

Sphere 3D Corp. (Docket No. 869) (the “Debtors’ Objection”) and seek a judgment disallowing

proofs of claim nos. 358 and 359 filed by Sphere (the “Sphere POCs”). In support thereof, the

Debtors allege the following upon information and belief.

                                        NATURE OF THE ACTION

           1.      This is a dispute grounded in bad-faith breach of contract, where defendants Sphere

and Gryphon used Gryphon’s large-volume hosting agreements with Core to bolster the legitimacy

of their pending merger and induce shareholder support and investments, all at Core’s expense.

But the merger never closed and the agreement with Core was breached as Sphere—who admits

that it was responsible for providing Gryphon with the 70,000 mining machines Gryphon had

contracted to host with Core—failed to deliver anywhere near the contracted number of machines

for reasons including lack of sufficient financing.

           2.      While it is undisputed that Sphere is not a party to the hosting agreements at issue,

Sphere claims that it has rights and obligations under those agreements through a sub-licensing

agreement that it executed with Gryphon after Gryphon inked the hosting agreements with Core.

Core is not a party to this sub-licensing agreement, however, and was not involved in its

negotiation or otherwise aware of its terms. Significantly, nothing in the sub-licensing agreement


2
    Core Scientific, Inc. changed its name to Core Scientific Operating Company in January 2022.


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contains the assignment that Sphere describes. Moreover, to the extent Gryphon was going to

assign or sub-license any rights to Sphere, the hosting agreements make clear that any such

assignment or sub-license was subject to Sphere satisfying Core’s requirements prior to any such

assignment or sub-license, which Sphere never did. Sphere also claims that Gryphon was acting

as Sphere’s manager under the hosting agreements—and that pursuant to this relationship Sphere

funded the $35 million in prepayment deposits that Gryphon made under the hosting agreements—

but nothing in the hosting agreements even hints at this purported arrangement or suggests that

Sphere has any rights under the hosting agreements. And whatever business relationship Gryphon

and Sphere may have negotiated among themselves has no bearing on the Debtors’ obligations

under the hosting agreements.

       3.      The Debtors have always disputed that Sphere has any rights under the hosting

agreements, but if the Court rules that Sphere has rights (and obligations) thereunder, then Sphere

is directly liable for failing to deliver the miners as required under the MSA and Order #2 (as

defined below). If the Court rules that Gryphon alone has rights under these agreements, then

Gryphon is responsible for failing to deliver the miners. Finally, if Gryphon and Sphere share

rights and obligations under the MSA and Order #2, then both parties are to blame for the breach

and jointly responsible for the Debtors’ damages. Under any of these scenarios, the Debtors

suffered millions of dollars in damages as a result of Sphere’s and/or Gryphon’s breach of the

MSA and Order #2 and are entitled to recover those sums from Sphere and/or Gryphon.

       4.      Regardless of whether it is Sphere, Gryphon, or a combination of the two who have

rights, obligations, and liability to the Debtors under the MSA and Order #2, neither Sphere nor

Gryphon could deliver the 70,000 miners contracted for delivery, including because of financing

constraints and an inability to secure the volume and type of miners the contract required. Gryphon



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and/or Sphere later purportedly intended to fulfill the obligations owed to Core by using machines

from a company named “NuMiner.” But those miners not only were not a permitted substitute

under the MSA and Order #2, they did not even exist: they were a fiction.

       5.      When Sphere and Gryphon learned that the NuMiner machines were fake and part

of an apparent scam, they did not disclose this to Core, or anyone else, likely concerned that such

disclosure would bring unwanted scrutiny, reduce Sphere’s stock price, and torpedo their planned

merger. Although Sphere and Gryphon knew that they could not perform under Order #2, they

strung Core along by promising delayed deliveries, all to maintain the appearance of a hosting

agreement with Core. This bad-faith tactic only increased the Debtors’ damages as Core continued

preparing to host miners that Sphere and Gryphon knew, or at least should have known, they could

not deliver.

       6.      As soon as the anticipated merger between Sphere and Gryphon failed in April

2022, Sphere schemed to cut Gryphon out of the arrangement and tried to negotiate a separate

hosting contract directly with Core in hopes of gaining control over the now forfeited

prepayment deposit. During these negotiations, Patricia Trompeter, Sphere’s CEO, admitted to

Russell Cann, Core’s Executive Vice President of Client Services, that Gryphon had breached

Order #2 and acknowledged that, as a public company, Sphere could be sued if its shareholders

learned that there was no contract requiring Core to host miners for Sphere.

       7.      It is with respect to those deposits, among other things, that Sphere filed its proofs

of claim against the Debtors. These deposits are not refundable, however, and in any event cover

only a portion of the Debtors’ damages, which include over $60 million that Core spent on

constructing additional data-center facilities to create sufficient space to host the 70,000 machines

that Gryphon was to deliver; approximately $16 million in remaining amounts due and owing



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under Order #2; and over $40 million in lost profits. In short, not only is Sphere not entitled to

any recovery on the Sphere POCs, but Sphere and/or Gryphon owe the Debtors damages of well

over $100 million.

         8.    While the Debtors’ Objection addressed the assertions made in the Sphere POCs

that are the subject of a pending contested matter associated therewith (the “Sphere Contested

Matter”), this adversary proceeding is necessary to allow the Debtors to affirmatively recover the

damages they suffered from Gryphon’s and/or Sphere’s breach of the MSA and Order #2, and to

address all of the issues relevant to this dispute in one consolidated proceeding, thereby subsuming

the Sphere Contested Matter into this proceeding.

                                            PARTIES

         9.    Plaintiff Core Scientific, Inc. is a corporation organized under the laws of Delaware,

with its principal place of business at 210 Barton Springs Road, Suite 300, Austin, Texas 78704

and a Debtor in these Chapter 11 Cases.

         10.   Defendant Sphere 3D Corp. is a corporation organized under the laws of Ontario,

Canada, with its principal place of business at 895 Don Mills Road Bldg. 2 Suite 900 Toronto, ON

M3C 1W3. Sphere is registered to do business in Texas and California.

         11.   Defendant Gryphon Digital Mining, Inc. is a corporation organized under the laws

of Delaware with its principal place of business at 5953 Mabel Road, Unit 138, Las Vegas, NV

89110.

                                JURISDICTION AND VENUE

         12.   The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. § 1334 and

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) 7001 and 7003. This is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2). To the extent necessary, pursuant to Rule 7008

of the Bankruptcy Rules and Rule 7008-1 of the Bankruptcy Local Rules for the Southern District

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of Texas (the “Bankruptcy Local Rules”), the Debtors consent to the entry of final orders or

judgment by this Court in connection with this Adversary Proceeding.

       13.     Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                  PROCEDURAL HISTORY

       14.     On December 21, 2022 (the “Petition Date”), the Debtors each commenced with

this Court a voluntary case under chapter 11 of title 11 of the Bankruptcy Code. The Debtors are

authorized to continue to operate their business and manage their properties as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

       15.     On April 13, 2023, Sphere filed the Sphere POCs: identical claims for

$39,541,996.30 plus certain unliquidated amounts against Core Scientific, Inc. and Core Scientific

Operating Company. See Sphere POCs. Specifically, Sphere claims that Core failed to perform

under the MSA and Order #2 and asserts claims for (1) $34,383,713 in hosting deposits paid

pursuant to Order #2, (2) $5,000,724.06 in alternative hosting costs, (3) $157,559.24 in storage

fees, and (4) an unliquidated amount for the value of any Bitcoin that Core purportedly mined and

misappropriated by allegedly installing Sphere’s miners as its own. Sphere POCs at 4.

       16.     On May 9, 2023, Core objected to the Sphere POCs. See Debtors’ Objection to

Proofs of Claim Nos. 358 and 359 Filed by Sphere 3D Corp. (Docket No. 869). Sphere filed a

response on July 10, 2023. See Sphere 3D Corp.’s Response to Debtors’ Objection to Proofs of

Claim Nos. 358 and 359 Filed by Sphere 3D Corp. (Docket No. 1045).

       17.     On June 9, 2023, the Debtors moved for summary judgment with respect to the

Sphere POCs, arguing, among other things, that (1) the Sphere POCs are foreclosed because

Sphere does not have any rights under the Gryphon Hosting Agreements, (2) in any event, the

MSA limits Core’s total liability to Sphere to one month’s fee payable to Core pursuant to the

applicable order (MSA § 5.d), and (3) the MSA also prevents Sphere (but not Core) from

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recovering certain types of damages, including consequential or indirect damages (MSA § 5.c.).

See Debtors’ Motion for Summary Judgment with Respect to Proof of Claim Nos. 358 and 359

Filed by Sphere 3D Corp. (Docket No. 959). Sphere objected and the Debtors filed a reply. See

Sphere 3D Corp.’s Objection to Debtors’ Motion for Summary Judgment with Respect to Proof of

Claim Nos. 358 and 359 Filed by Sphere 3D Corp. (Docket No. 1039); Reply in Further Support

of Debtors Motion for Summary Judgment with Respect to Proof of Claim Nos. 358 and 359 Filed

by Sphere 3D Corp. (Docket No. 1094). A hearing on the Debtors’ motion for summary judgment

was held on August 7, 2023. The Court denied the motion in an order entered on August 8, 2023.

                                  FACTUAL ALLEGATIONS

A. The Gryphon Hosting Agreements

       18.     Core is one of the largest blockchain infrastructure companies in North America

with data-center facilities in Texas, Georgia, Kentucky, North Carolina, and North Dakota. Core

“self-mines” digital assets for its own account and hosts miners for third-party customers pursuant

to hosting agreements.

       19.     In the summer of 2021, Core engaged in negotiations with Gryphon to enter into a

large-volume hosting agreement based on Gryphon’s representations that it was seeking to host

tens of thousands of miners. Gryphon also represented that it had contracts with a company named

BitFuFu for the miners that it would host with Core under the contemplated agreement. Core was

obviously interested, as a hosting agreement of this scale promised to be lucrative, but it would

require that Core invest tens of millions of dollars in constructing data-center facilities to expand

its hosting capacity. Sphere did not participate in these negotiations between Gryphon and Core.

       20.     In reliance on Gryphon’s representations, Core entered into three agreements with

Gryphon: the MSA, Order #1, and Order #2. First, effective as of September 12, 2021, Core and

Gryphon entered into a Master Services Agreement (the “MSA”) through which Core would host

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for Gryphon digital-asset mining machines. A true and correct copy of the MSA is attached hereto

as Exhibit 1. Sphere is not a party to the MSA. The MSA does not contain any references to

Sphere or to Gryphon acting as a manager for Sphere and defines “the Client” as Gryphon. The

MSA further makes clear that “there are no third-party beneficiaries.”

       21.     Pursuant to the MSA, Gryphon and Core entered into two separate orders that the

MSA would govern. The first order was Master Service Agreement Order #1 (“Order #1”),

entered into on or about September 12, 2021. Sphere is not a party to Order #1. A true and correct

copy of Order #1 is attached to the MSA. Order #1 was effectively a test order designed to ensure

that the configuration at Core’s data-center facilities was compatible with the miners and that

Gryphon was comfortable moving forward with a large-volume hosting agreement with Core.

Pursuant to Order #1, Gryphon delivered and Core deployed 100 S19j miners in early October

2021. Core is currently continuing to host these 100 miners for Gryphon as an accommodation,

along with several hundred others discussed below, but intends to discontinue that accommodation

and have Gryphon retrieve these miners.

       22.     The second order was Master Service Agreement Order #2 (“Order #2,” and

together with the MSA and Order #1 the “Gryphon Hosting Agreements”), signed by Gryphon

and Core on October 5, 2021. A true and correct copy of Order #2 is attached hereto as Exhibit

2. Sphere is not a party to Order #2 either. Pursuant to Order #2, Core was to host 70,000 S19

miners or their equivalent for Gryphon. The MSA and Order #2 make clear that Gryphon was

obligated to deliver 70,000 miners pursuant to the following delivery schedule set forth in Order




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#2.




See Ex. 2, Order #2 at 1.

       23.      While Order #2 required that Gryphon deliver miners according to the above

schedule, the Gryphon Hosting Agreements do not require that Core deploy machines on or before

a certain date. This is clear as the MSA includes a warranty disclaimer that “ALL [CORE]

FACILITY AND SERVICES ARE PROVIDED OR PERFORMED ON AN . . . ‘AS

AVAILABLE’ BASIS,” Ex. 1, MSA § 5.b and defines “services” to include hosting services, Ex.

1, MSA § 1.a.

       24.      Order #2 further required that Gryphon make a total of approximately $51 million

in prepayment deposits to Core on a set schedule and prior to installation of the miners. Ex. 2,

Order #2 at 1–2. The MSA provides that, in the event of non-performance, Core may take

certain actions, including “declar[ing] all amounts due under the applicable Order through the

balance of the Term to be immediately due and payable.”          Ex. 1, MSA § 4.d. In total,

according to Core’s records, Gryphon was invoiced for and made payments to Core totaling

approximately $35 million, approximately $16 million short of the total prepayments due under

Order #2. Core’s banking records reflect that for each of these payments, the wire transfers

came from Gryphon, not Sphere.

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Sphere claims that it funded these $35 million in prepayment deposits by providing the funds to

Gryphon, but whether Sphere was the source of those non-refundable prepayment deposits is

irrelevant because whatever Sphere and Gryphon may have agreed to among themselves is not

binding on Core and certainly does not amend the terms of the MSA and Order #2.

       25.     Pursuant to the MSA, Gryphon can “dispute any invoice or any part therefor (a

“Disputed Amount”) by submitting written notice of such a dispute along with reasonable

supporting documentation within three (3) calendar days of the date of the initial invoice on which

the Disputed Amount appears, failing which the Client waives all rights to dispute such Disputed

Amount and to file any claim.” Ex. 1, MSA§ 3.b (emphasis added). Order #2 states the same,

but permits Gryphon to raise disputes “within seven (7) calendar days of the date of the initial

invoice on which the Disputed Amount appears, failing which Client waives all rights to dispute

such Disputed Amount and to file any claim.” Ex. 2, Order #2 at 5 (emphasis added). Neither

Gryphon (nor Sphere) disputed any invoice relating to these prepayment deposits.

       26.     One of the purposes of these prepayment deposits is to ensure performance by

Core’s customer (here Gryphon) under Order #2, including because of the enormous undertaking

and investment Core had to make to prepare data-center facilities to host the 70,000 miners that

Gryphon was to deliver pursuant to Order #2. The prepayment deposits also served as a form of

down payment for the services Core was to provide. In short, Gryphon signed a contract with Core

to deliver and have Core host 70,000 miners—a significant amount—and Core needed some

assurance of performance. These prepayment deposits are not refundable pursuant to the clear

terms of the MSA and Order #2.

       27.     Having committed to a lucrative large-volume hosting agreement with Gryphon for

70,000 miners, Core invested in building data-center facilities in Texas and Oklahoma, expecting



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to generate hundreds of millions of dollars in revenue on Order #2 alone. Specifically, Core started

construction on four data-center facilities—Denton, Cedarvale, Cottonwood, and Muskogee—and

had the capability and intention to continue building out additional data-center facilities as needed

to meet hosting demands. While Core was also expanding capacity to host miners for other

customers and for Core’s own self-mining, Core’s reliance on the large-volume hosting

commitment set forth in Order #2, including the expectation that Gryphon would pay

approximately $51 million in prepayment deposits, informed the scope and extent of Core’s

investment and capacity expansion. Core simply would not have spent as much on construction

absent Gryphon’s commitments under Order #2. And when Gryphon failed to deliver as required

by Order #2, Core sustained damages not only in the sums it spent constructing these facilities, but

also in the profits it would have earned but for the breach of Order #2.

       28.     Finally, the MSA contains a provision explicitly prohibiting the assignment of the

Gryphon Hosting Agreements without Core’s prior written consent. Ex. 1, MSA §8.d. Core and

Gryphon later agreed in Order #2 to amend that provision to allow Gryphon to assign its rights

under Order #2 to Sphere, provided that Sphere satisfied Core’s requirements prior to assignment.

Ex. 2, Order #2 at 4. In negotiating this provision, Core expressly added this additional language

to ensure that any assignment, delegation, sub-license, sub-lease or transfer of any rights to Sphere

was conditioned on Sphere satisfying Core’s requirements. These requirements were as follows:

creditworthiness; sources of funds; financial information; proof of ownership of miners to be

delivered; reconfirmation of delivery schedule and machine type; Foreign Corrupt Practices Act

considerations; Know Your Customer considerations (e.g. business with Chinese entities/Chinese

government); form of assignment (e.g. how and which rights and obligations were to be

transferred, allocated or retained); whether any such assignment would implicate securities laws



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or constitute an investment contract; and whether any assignment would impact Core’s own rights

and obligations under the MSA, Order #1, and Order #2.

       29.     Sphere never satisfied any of these requirements, which in addition to being

requirements under Order #2, are fundamental for several sound business reasons, including that

Core must know who it is doing business with and ensure that any counterparty is in compliance

with the terms of the MSA and Order #2, including the warranties, representations, and covenants

contained therein. For example, pursuant to the MSA, Core is contractually entitled to certain

representations and warranties, including that its hosting customer “owns and has good title to

Client Equipment, free and clear of any mortgage, pledge, lien, charge, security interest, claim or

other encumbrance or has interest in Client Equipment as part of a financing or other arrangement

disclosed and approved by the Company [Core].” Ex. 1, MSA § 5.a. Absent such protections,

Core would have no assurance that the assigned party could actually perform under the agreements

and is otherwise an entity that meets Core’s standards. Because Sphere never satisfied these

requirements, any purported assignment, sub-license or sub-delegation to Sphere is invalid.

B. The Gryphon/Sphere Agreements

       30.     On June 3, 2021, Gryphon and Sphere entered into a merger agreement (the

“Merger Agreement”). Pursuant to the Merger Agreement, Gryphon was to merge with a Sphere

subsidiary created for the merger, with Gryphon to emerge as the “Surviving Corporation” and

ostensibly the largest Bitcoin mining company in the world. Core was not a party to the Merger

Agreement. Ultimately, Sphere and Gryphon did not merge. On April 4, 2022, Sphere issued a




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press release announcing the failed merger and stating that Sphere and Gryphon mutually agreed

to terminate the Merger Agreement.

       31.    On October 5, 2021—months before the failed merger—Gryphon entered into a

Sub-Licensing and Delegation Agreement with Sphere in connection with the contemplated

merger between the two companies (the “Sub-Licensing Agreement”). Sphere claims that

Gryphon assigned its contractual rights under the MSA and Order #2 to Sphere pursuant to this

agreement. Sphere POCs ¶ 7. But, the Sub-Licensing Agreement cannot provide a basis for

Sphere to have any rights under the Gryphon Hosting Agreements.

       32.    First, and fatal to Sphere’s claim, Sphere never satisfied Core’s requirements that

were an express precondition to any purported assignment of rights by Gryphon to Sphere. In

short, whatever Gryphon and Sphere may have contemplated among themselves, cannot change

the fact that before any assignment, sublicense or delegation of rights could take place, Sphere

needed to satisfy Core’s requirements in advance. Sphere never did.

       33.    Second, the Sub-License Agreement contains only one provision that deals with the

assignment of all rights under Order #2: a “Contingent Assignment” provision providing that

“upon the consummation of the Merger . . . all of Gryphon’s rights and obligations under Order 2

shall be automatically assigned to, and assumed by, the Surviving Corporation (as defined in the

Merger Agreement), without any further action required by either such party.”           But this

“Contingent Assignment” provision does not actually assign anything to Sphere.           Indeed,

paragraph 2 contemplates an assignment of rights from Gryphon to the Surviving Corporation




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(defined in the Merger Agreement as Gryphon)—not Sphere. Further, and even more dispositive,

paragraph 2 is contingent “upon consummation of the Merger,” which never happened.

       34.     Third, the Sub-License Agreement also contains a “Sub-License and Delegation”

provision through which Gryphon “(i) exclusively sub-licenses to Sphere its rights to access and

use the Company Facility pursuant to Order 2 and (ii) delegates to Sphere all of its obligations to

make payments to Core pursuant to Order 2.” This provision does not support Sphere’s claim

either, as it merely provides that Gryphon sub-licensed to Sphere its rights to access and use Core’s

facility—not all of its rights under the Gryphon Hosting Agreements—and delegated to Sphere

the obligation to make payments to Core. Nothing in this “Sub-License and Delegation” provision

even purports to effectuate a complete assignment of Gryphon’s rights under the MSA and Order

#2, as Sphere claims. And, the fact that Gryphon and Sphere agreed among themselves that Sphere

would fund the required prepayment deposits owed by Gryphon does not change the fact that as

between Core and Gryphon, Core looked to Gryphon for payment.

C. Gryphon/Sphere Breach of the MSA and Order #2

       35.     Treating its contract with Core as only a polite suggestion rather than a binding

agreement, Gryphon did not deliver its first units under Order #2 until February 8, 2022, missing

the first four months of deliveries required under the schedule set forth in Order #2. Though the

MSA expressly obligated Gryphon to deliver machines on or before the “applicable scheduled

delivery date,” Gryphon missed its October, November, December, and January delivery dates

under Order #2. In this way, Gryphon breached Order #2 and triggered Core’s contractual right

to exercise remedies such as suspending the provision of the services, declaring all amounts due

under Order #2 (including all prepayment deposits) to be immediately due and payable, directing




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proceeds from any miners to the Company’s own account until all amounts due have been

recovered, and terminating the MSA, Order #1, and Order #2. Ex. 1, MSA § 4.d.

       36.     When Gryphon did eventually send 297 miners in early February, they were not

marked as Gryphon miners and were delivered to Core in a shipment from the manufacturer that

also contained Core’s own mining machines. Gryphon did not notify Core about the delivery until

sometime thereafter. Once Gryphon notified Core about the shipment of its 297 miners, it was

initially believed that some of the Gryphon machines had been mistakenly deployed as Core’s self-

miners. After investigating further, however, Core determined that the Gryphon miners had not in

fact been deployed but were still being stored at Core’s hub warehouse in Marble, North Carolina,

mixed with Core’s other machines. This was all because of a shipping error from the manufacturer

from whom both Gryphon and Core purchased their mining machines. After discovering the error,

Core promptly developed a solution to designate its own already-deployed machines as Gryphon’s.

In this way, rather than waiting the weeks it would have taken to get Gryphon’s machines out of

the hub and deployed, these 297 “swapped” machines were immediately deemed to be Gryphon’s

and any Bitcoin mined from those machines going forward was directed to Gryphon. Core

communicated this resolution to Gryphon, who voiced no objection.

       37.     Thereafter, on February 28, 2022, Gryphon sent Core 95 more miners and then

another 108 on March 7, 2022.      Under the schedule in Order #2, by March 15, 2022, Gryphon

was supposed to have delivered to Core a total of 3,000 miners (in addition to the 100 miners under

Order #1) but in fact had d e l i ve r e d a total of only about 600 miners by that date.

       38.     Additionally, although not formally announced until April, it became clear in early

February 2022 that the Gryphon/Sphere merger was not going to close, and that Gryphon could

not fulfill its contractual obligation to deliver the 70,000 miners agreed to in Order #2.



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       39.     On February 11, 2022, Gryphon sent Core an email in which Gryphon stated that it

would not be able to meet the quantity and type of units it had agreed to and that it was expecting

delivery of miners from another manufacturer, NuMiner, in connection with a contract Sphere

apparently entered into in early February that Gryphon presumably would have access to after the

merger. Order #2, however, was very specific that the miners Gryphon was obligated to provide

had to be S19 miners (manufactured by Bitmain) or their equivalent. Not only was there nothing

confirming that these new miners from NuMiner were S19 equivalents, even assuming that the

miners from NuMiner were equivalents and could be configured for use at Core—which itself

would be a tall order given that the racking, switch gear and other infrastructure items would need

to be reconfigured—it was not realistic to expect that any miners from NuMiner would be

forthcoming. Indeed, Gryphon and Sphere suspected (but hid that suspicion from Core) that the

NuMiner machines were in fact a fraud and would never be delivered.

       40.     As it turned out, there were no miners from NuMiner, and Sphere’s agreement with

NuMiner for the purchase of 1.7 billion dollars’ worth of miners was never going to result in the

delivery of new miners, even if Sphere had the financing available to purchase these miners, which

it did not. Gryphon and Sphere kept this quiet however, using the promise of 60,000 NuMiner

machines to inflate their value prior to the anticipated merger between the two companies. Worse,

Gryphon and Sphere never informed Core of this fact, likely out of fear of being in obvious breach

of the Gryphon Hosting Agreements and the negative impact such information would have on their

proposed merger. No miners ever materialized from the NuMiner agreement, and ultimately,

neither Sphere nor Gryphon ever had any such machines to provide Core.

       41.     While it was already clear by the end of February 2022 that Gryphon had breached

the Gryphon Hosting Agreements, Gryphon admitted to Core that the agreed upon deliveries



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would not be forthcoming and, in an email dated February 28, 2022, Gryphon presented Core with

a new delivery schedule that not only purported to reduce the total number of miners from 70,000

to 60,800 but also pushed out delivery of the majority of miners to later months. For example,

although the schedule in Order #2 had Gryphon delivering a total of 15,500 miners to Core by May

15, 2022, the revised proposed schedule reduced that number to 3,800. As a result, the cumulative

assumed power consumption of Gryphon’s miners for 2022 would decrease by about 30 million

watts as compared to the schedule in Order #2, significantly reducing the fees owed to Core and

Core’s profit. This unilateral reschedule was not permitted by the contract, and in any event,

Gryphon had already long since breached Order #2 by failing to deliver the miners as scheduled.

Core did not agree to this proposed modification and instead offered to negotiate a new agreement

with Gryphon, which would have had a higher hosting rate given the significantly lower volume

of machines that Gryphon was now seeking to deliver and the increased market rate for hosting

services.

       42.     Given that Gryphon was not delivering miners to Core in accordance with Order

#2 and made clear to Core in February that it could not meet its obligations, Core otherwise utilized

the capacity it had previously set aside for Gryphon but still lost revenue because Core otherwise

could have deployed both Gryphon’s miners and the machines that Core deployed instead.

Subsequently, in April 2022, Gryphon delivered 597 miners to Core and asked if Core could

deploy them immediately. Core notified Gryphon that it could not deploy the miners immediately

but could do so in a few weeks’ time, having already made other arrangements given Gryphon’s

lack of prior deliveries. Gryphon did not want to wait and asked Core to send the units back. Core

obliged, but 39 units that were already deployed remained and are part of the 639 Gryphon miners

that Core hosted. Gryphon understood that Core was under no contractual obligation to deploy



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these miners, and further understood that Core was willing to host these few hundred miners as an

accommodation.

       43.     Indeed, even though Gryphon had breached Order #2, Core tried to work with

Gryphon—and later, Sphere—to develop a solution that could work for all parties. Notably, during

these negotiations, Ms. Trompeter admitted to Mr. Cann that Gryphon had breached Order #2.

Ms. Trompeter also acknowledged that she was in a bind that could result in a shareholder lawsuit

against Sphere if it came to light that Sphere had funded $35 million in prepayment deposits on a

contract that Sphere had no rights under.

       44.     To foster positive business relationships, Core was willing to work with both parties

to develop a go-forward plan whereby Core would deploy their respective miners and apply the

prepayment deposit made under Order #2, which had long since been forfeited based on Gryphon’s

breach of the MSA and Order #2. That proved impossible. The main issue that hampered the

negotiations was Sphere’s insistence on a deal with the same terms as the now breached Order #2,

including the lower-than-market hosting rate that was outdated and quoted based on the

expectation of the large-volume hosting of 70,000 miners that never materialized. As for Gryphon,

it continued to cling to the notion that miner deliveries were just around the corner, but because

Gryphon was already in breach of Order #2, it too would require a new MSA and/or order if it

wanted to host additional miners with Core. In the end, the parties could not reach a deal and

neither Gryphon nor Sphere entered into new hosting agreements with Core.

       45.     Although it had no contractual obligation to do so, Core continued hosting the 100

miners that Gryphon has delivered under Order #1 and the 539 miners that Gryphon had delivered

under Order #2, applying the credit from the previously forfeited $35 million contractual

prepayment to the hosting of that small volume of machines. At this stage of these chapter 11



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proceedings, with the Debtors on the verge of a confirmation hearing and emerging from chapter

11, Core has decided that it no longer makes sense to continue extending this accommodation to

Gryphon. Indeed, these miners have no meaningful benefit to the Debtors and are not part of the

Debtors’ post-confirmation business plans. Accordingly, the Debtors will be notifying Gryphon

that Core will no longer continue to host these miners and will coordinate with Gryphon to

schedule their pickup.

D. Debtor’s Damages Caused by Breach

       46.     Relying on the Gryphon Hosting Agreements and the expected hosting of 70,000

miners under Order #2, Core began constructing data-center facilities in Texas and Oklahoma to

accommodate the capacity needed to fulfill its contracts. In connection with the construction and

preparation of the Texas and Oklahoma facilities (Denton, Cedarvale, Cottonwood, and

Muskogee), Core incurred construction costs totaling at least $401.8 million. Because the 70,000

miners set forth under Order #2 encompass approximately 210 megawatts—which is 15.6 percent

of the approximately 1347 total megawatts that the Debtors were constructing and otherwise

preparing these data-center facilities to accommodate for Gryphon and other customers—the

construction costs attributable to Order #2 would be 15.6 percent of the Debtors’ total $401.8

million spent. This results in approximately $62.7 million in total construction costs incurred in

connection with Order #2, and represents a component of Core’s direct damages.

       47.     In addition, Gryphon stopped making the remaining contractual prepayment

deposits due under Order #2. Pursuant to the MSA, in the event of breach, Core may “declare all

amounts due under the applicable Order through the balance of the Term to be immediately due

and payable.” Ex. 1, MSA § 4.d(iii). Under this provision, Core is entitled to retain the already-




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paid contractual prepayment deposits and Sphere and/or Gryphon must pay the remaining $16

million due and owing under Order #2.

       48.     Additionally, because of Gryphon’s failure to deliver the required miners under

Order #2, Core also lost approximately $470 million in revenue and approximately $43.2 million

in profits that Core would have made under Order #2, but for the breach.

E. Proofs of Claim and the Debtors’ Objection

       49.     Sphere filed the Sphere POCs, claiming that Core breached the MSA and Order #2

by allegedly (1) failing to abide by the “deployment schedule” set forth in Order #2, (2) refusing

to honor the contractual hosting rate agreed in Order #2, and (3) installing Sphere’s miners for

Core’s own benefit and using them to mine Bitcoin for Core’s own account. Sphere asserts claims

for (1) $34,383,713 in hosting deposits paid pursuant to Order #2, (2) $5,000,724.06 in alternative

hosting costs, (3) $157,559.24 in storage fees, and (4) an unliquidated amount for the value of any

Bitcoin that Core purportedly mined and misappropriated by allegedly installing Sphere’s miners

as its own. See Sphere POCs at 4. Sphere goes on to state that the Sphere POCs are filed “in an

unliquidated amount for [] any and all losses and damages arising from Core’s failure to satisfy its

obligations to the Claimant including, but not limited to, consequential, expectation, and reliance

damages.” Sphere POCs ¶¶ 14–16. For the reasons stated in this Complaint—which were also

reflected in the Debtors’ Objection—the claims asserted in the Sphere POCs should be disallowed.

       50.     First, Sphere has no rights under the Gryphon Hosting Agreements and thus no

contractual relationship with the Debtors and no standing to assert claims against Core under the

MSA and Order #2. Sphere was not a party to the Gryphon Hosting Agreements. Contrary to

Sphere’s claim that Gryphon assigned its rights under the MSA and Order #2 to Sphere pursuant

to the Sub-License Agreement, no provision in that agreement effectuates an assignment. And in



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any event, for any assignment to be valid, Sphere would have had to satisfy Core’s “requirements”

that served as a contractual precondition to any assignment of Gryphon’s rights to Sphere, which

it failed to do Additionally, the $35 million prepayment deposit that Sphere seeks to recover is

non-refundable pursuant to the terms of the contract, where the deposit was intended to ensure

Gryphon’s performance, including to protect the significant investment Core had to make to

expand capacity to host the 70,000 miners under Order #2. Gryphon’s failure to perform

extinguished Core’s obligations under the contract and further defeats Sphere’s claim for return of

approximately $34 million in hosting deposits.

       51.     Second, Core performed its obligations under the Gryphon Hosting Agreements.

Sphere asserts that Core failed to “abide by the deployment schedule as written, both in terms of

timing and the absolute number of miners to be hosted.” Sphere POCs ¶ 10. This is not a serious

claim. No provision in the Gryphon Hosting Agreements requires Core to deploy machines on or

before a certain date. This is clear as the MSA includes a warranty disclaimer that “ALL [CORE]

FACILITY AND SERVICES ARE PROVIDED OR PERFORMED ON AN . . . ‘AS

AVAILABLE’ BASIS,” Ex. 1, MSA § 5.b and defines “services” to include hosting services, Ex.

1, MSA § 1.a. This is fatal to Sphere’s claim. Additionally, and in any event, Core accepted and

deployed all miners that Gryphon timely delivered, even though Core’s obligations to perform

under the contract were extinguished at Gryphon’s first breach of the agreement in October 2021.

       52.     Sphere also claims that Core breached the MSA and Order #2 by “refus[ing] to

honor the contractual hosting rate set out in Order #2.” Sphere POCs ¶ 11. This claim fails too.

After Gryphon (and/or Sphere) failed to perform, Core was under no contractual obligation to

extend the same below-market hosting rate set forth in Order #2 to any miners delivered post-




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breach or to any go-forward agreements with Gryphon and/or Sphere that Core tried to negotiate

in good faith.

       53.       Sphere additionally asserts that Core breached the MSA and Order #2 by “installing

and using hundreds of Sphere’s miners for its own benefit.” Sphere POCs ¶ 12. As detailed above,

this is factually incorrect: Core did not misappropriate Bitcoin that belonged to Sphere, but

developed a solution to correct a mistake where the machine manufacturer shipped and delivered

297 of Gryphon’s machines marked as Core’s own mining machines. But even if Core had

retained the Bitcoin generated from Gryphon’s 297 machines (which it did not), Core would have

been contractually entitled to do so given that Order #2 had long since been breached and the MSA

provides that, in the case of a failure to perform, Core may direct proceeds from any miners to the

Company’s own account until all amounts due have been recovered. Ex. 1, MSA § 4.d(iv).

       54.       Third, to the extent that Sphere has any rights under the Gryphon Hosting

Agreements (which it does not), they are subject to the robust limitation of liability provisions

contained in the MSA, which limit the type and amount of any potential recovery against Core.

       55.       The MSA limits the type of damages that give rise to liability as follows:

       NOTWITSTANDING ANYTHING TO THE CONTRARY IN THIS AGREEMENT, IN
       NO EVENT WILL EITHER PARTY BE LIABLE TO THE OTHER PARTY FOR
       (I) LOST PROFITS; (II) LOSS OF BUSINESS; (III) LOSS OF REVENUES (EXCEPT
       THAT CLIENT SHALL BE LIABLE FOR ANY FEES OR OTHER AMOUNTS
       OWED TO COMPANY UNDER THIS AGREEMENT); (IV) LOSS,
       INTERRUPTATION OR USE OF DATA OR LOSS OF USE OF CLIENT EQUIPMENT;
       (V) ANY CONSEQUENTIAL OR INDIRECT DAMAGES; OR (VI) COST OF
       COVER, ANY INCIDENTAL, SPECIAL, RELIANCE, EXEMPLARY OR
       PUNITIVE DAMAGES (IF APPLICABLE), EVEN IF ADVISED OF THE
       POSSIBILITY OF SUCH DAMAGES.

See Ex. 1, MSA § 5.c (emphasis added). This provision precludes Sphere from recovering any

consequential, expectation, reliance, and punitive damages regardless of whether Sphere’s claims

arise under the Gryphon Hosting Agreements or sound in tort, such as its claim for the purported


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misappropriated Bitcoin. Section 5.c. thus bars Sphere from recovering the alternative hosting

costs and storage fees. Further, Section 5.c precludes recovery for any cover costs, which includes

costs of procuring services of equivalent capability, function, and performance. The MSA thus

further bars Sphere from recovering for the “alternative hosting costs” that it asserts in the Sphere

POCs.

        56.    The MSA also expressly limits the amount of Core’s total liability under Order #2

to one-month’s fee:

        NOTWITSHANDING ANYTHING TO THE CONTRARY IN THIS AGREEMENT,
        COMPANY’S TOTAL LIABILITY TO CLIENT IN THE AGGREGATE FOR THE
        ENTIRE TERM (REGARDLESS OF WHETHER THE CLAIMS ARE BROUGHT
        DURING OR AFTER THE TERM) WITH RESPECT TO ALL CLAIMS ARISING
        FROM OR RELATED TO THE SUBJECT MATTER OF THIS AGREEMENT
        (INCLUDING, WITHOUT LIMITATOIN, ATTORNEY’S FEES) WILL NOT
        EXCEED AN AMOUNT EQUAL TO ONE (1) MONTHS FEE PAYABLE TO
        COMPANY PURSUANT TO THE APPLICABLE ORDER.

See Ex. 1, MSA § 5.d (emphasis added). Because all of Sphere’s claims arise from or are related

to the MSA, this provision precludes Sphere from recovering the over $39 million asserted in the

Sphere POCs and caps any recovery at one-month’s fee and precludes any refund of the

prepayment amounts. Here, one-month’s fee is at most $84,658.94, based on the last monthly

invoice that Core sent to Gryphon. Indeed, there is no provision in any of the Gryphon Hosting

Agreements that provide for a refund of the prepayments or any other amounts.

        57.    These provisions are enforceable under Delaware law, which governs the Gryphon

Hosting Agreements. Gryphon plainly agreed to the express exclusion of certain types of damages

and the limitation of damages to one month’s fee. Tellingly, in Order #1, which apparently is not

at issue, Gryphon negotiated an increase to this limitation of liability to three months’ fee. Order

#2 contains no such amendment. Indeed, the MSA provides, “[e]ach party recognizes and agrees

that the warranty disclaimers, limitations of liability and remedy limitations in this Agreement


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are materially bargained for by the parties.” Ex. 1, MSA § 5.f (emphasis added). These

provisions were bargained for by Core and are a material component of the MSA.

                                      *      *        *      *       *

       58.     In the end, Sphere’s arguments are really nothing more than a tactic to divert

attention away from the following simple facts that are fatal to the Sphere POCs: (1) Sphere has

no rights under the Gryphon Hosting Agreements and thus no standing to assert any claims arising

thereunder; (2) the $35 million prepayment deposit is non-refundable under the terms of the

contract, (3) Gryphon failed to deliver the 70,000 miners required for delivery under Order #2,

thus breaching the agreements and extinguishing Core’s obligations under the Gryphon Hosting

Agreements; (4) Sphere is bound by Gryphon’s breach and cannot enjoy more rights than Gryphon

had under the Gryphon Hosting Agreements; and (5) even if Sphere has asserted a valid claim (it

has not), the limitations of liability provisions set forth in the MSA prevent Sphere from recovering

the type and amount of damages asserted in the Sphere POCs.

F. The Limitation of Liability Provisions Do Not Limit Core’s Recovery

       59.     While the limitation of liability provisions circumscribe Sphere’s claims, these

provisions do not limit Core’s recovery or its claim for over $100 million in damages.

       60.     First, the one-month’s fee limitation in Section 5.d of the MSA applies to limit only

“COMPANY’S [meaning Core’s] TOTAL LIABILITY TO CLIENT.”                         Ex. 1, MSA § 5.d

(emphasis added). It is not reciprocal and does not limit the amount of damages recoverable by

Core for damages it has sustained resulting from Gryphon’s and/or Sphere’s breach of the Gryphon

Hosting Agreements.

       61.     Second, Section 5.c contains an express carve-out that makes clear that “CLIENT

SHALL BE LIABLE FOR ANY FEES OR OTHER AMOUNTS OWED TO COMPANY



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UNDER THIS AGREEMENT.”                 That means that under normal circumstances that might

otherwise limit what either party would be entitled to recover, Core can still recover the

prepayment deposits it is entitled to under Order #2. This provision thus further makes clear that

because Gryphon and/or Sphere breached the Gryphon Hosting Agreements, whatever deposits

were made by Gryphon (or Sphere) are not only not subject to any refund (as stated above), but

also that the remaining $16 million balance is due and owing.

       62.        Third, the MSA also contains yet another carve-out provision that applies to expand

Gryphon’s (and/or Sphere’s) liability as follows under certain circumstances depending on the

type of breach:

       EXCEPT FOR CLIENT’S BREACH OF ITS OBLIGATIONS UNDER SECTIONS
       4, 5 a, 5 h, and 6, AND LOSS OR DAMAGE ARISING OUT OF CLIENT’S GROSS
       NEGLIGENCE, BAD FAITH OR WILLFUL MISCONDUCT, THE LIMITATIONS
       SET FORTH IN SECTIONS 5 c AND 5 d WILL APPLY TO ALL CLAIMS AND
       CAUSES OF ACTION, REGARDLESS OF WHETHER IN CONTRACT, TORT,
       STRICT LIABILITY OR OTHER THEORY.

Ex. 1, MSA § 5.e (emphasis added). This carve-out provision means that the general limitations

of liability that applied to both parties in Section 5.c do not apply to limit Core’s recovery where

(i) the breach by Gryphon (or Sphere) is of Sections 4, 5.a, 5.h or 6 or (ii) the loss or damage

sustained by Core arises out of Gryphon’s (or Sphere’s) gross negligence, bad faith or willful

misconduct.

       63.        Gryphon and/or Sphere have triggered the carve-out provision in at least three

independent ways. First, Gryphon and/or Sphere breached their obligations under § 4 of the MSA

by failing to deliver the 70,000 miners pursuant to the schedule detailed in Order #2. Second,

Gryphon and/or Sphere breached the representations, warranties, and covenants set forth in § 5.a

of the MSA—specifically, that “Client owns and has good title to Client Equipment, free and clear

of any mortgage pledge, lien, charge, security interest, claim or other encumbrance or has interest


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in Client Equipment as part of financing or other arrangement disclosed and approved by

Company”—by failing to properly disclose their arrangements for securing the 70,000 miners

contracted for delivery under Order #2.         Finally, Gryphon and/or Sphere acted with gross

negligence, bad faith, and/or willful misconduct in their contracting to host 70,000 miners with

Core to legitimize their pending merger and induce shareholders to invest, then failing to inform

Core once they knew, or should have known, that they could not deliver those miners. This grossly

negligent, bad-faith, and willful misconduct increased the Debtors’ damages as Core continued

preparing to host miners that Sphere and Gryphon knew, or at least should have known, they could

not deliver.

                                      RESERVATION OF RIGHTS

        64.     Nothing contained herein is intended to be or shall be deemed (i) an admission as

to the validity of any claim against the Debtors, (ii) a waiver of the Debtors’ rights or the rights of

any appropriate party-in-interest to dispute the amount of, basis for, or validity of any claim, (iii) a

waiver of the Debtors’ rights or the rights of any other party-in-interest under the Bankruptcy Code

or any other applicable nonbankruptcy law, or (iv) an approval, adoption, assumption, or rejection

of any agreement, contract, program, policy, or lease under § 365 of the Bankruptcy Code.

                                           COUNT ONE
                                        (Breach of Contract)
                                              Sphere

        65.     Debtors incorporate by reference each of the above allegations as though fully set

forth herein.

        66.     Core and Gryphon entered into the Gryphon Hosting Agreements, including Order

#2, which required that Gryphon deliver 70,000 miners to Core pursuant to the delivery schedule

set forth in Order #2. Gryphon failed to deliver the 70,000 miners required under the delivery



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schedule set forth in Order #2, thereby breaching the MSA and Order #2. Sphere claims that

Gryphon was acting as its manager with respect to the MSA and Order #2, and that Gryphon

assigned or sub-delegated its rights under the MSA and Order #2 to Sphere.

       67.      If the Court rules that Sphere has rights and obligations under the MSA and Order

#2, then Sphere is liable for the failure to perform under the MSA and Order #2.

       68.      As a result of the breach, Core has suffered damages in an amount to be determined

at trial but currently believed to be over $100 million, including (1) $62.7 million in construction

costs to build out data-center facilities, (2) $43.2 million in lost profits, and (3) $16 million in

outstanding amounts due and owing under Order #2. The Debtors are entitled to recover these

damages, which far exceed the claims asserted in the Sphere POCs.

                                         COUNT TWO
                                      (Breach of Contract)
                                           Gryphon

       69.      Debtors incorporate by reference each of the above allegations as though fully set

forth herein.

       70.      Core and Gryphon entered into the Gryphon Hosting Agreements, including Order

#2 which required that Gryphon deliver 70,000 miners to Core pursuant to the delivery schedule

set forth in Order #2. Gryphon failed to deliver the 70,000 miners required under the delivery

schedule set forth in Order #2, thereby breaching the MSA and Order #2. Sphere claims that

Gryphon was acting as its manager with respect to the MSA and Order #2, and that Gryphon

assigned or sub-delegated its rights under the MSA and Order #2 to Sphere.

       71.      If the Court rules that Gryphon alone has rights and obligations under the MSA and

Order #2, then Gryphon is liable for the failure to perform under the MSA and Order #2.




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       72.      As a result of the breach, Core has suffered damages in an amount to be determined

at trial but currently believed to be over $100 million, including (1) $62.7 million in construction

costs to build out data-center facilities, (2) $43.2 million in lost profits, and (3) $16 million in

outstanding amounts due and owing under Order #2. The Debtors are entitled to recover these

damages, which far exceed the claims asserted in the Sphere POCs.

                                        COUNT THREE
                                      (Breach of Contract)
                                      Sphere and Gryphon

       73.      Debtors incorporate by reference each of the above allegations as though fully set

forth herein.

       74.      Core and Gryphon entered into the Gryphon Hosting Agreements, including Order

#2 which required that Gryphon deliver 70,000 miners to Core pursuant to the delivery schedule

set forth in Order #2. Gryphon failed to deliver the 70,000 miners required under the delivery

schedule set forth in Order #2, thereby breaching the MSA and Order #2. Sphere claims that

Gryphon was acting as its manager with respect to the MSA and Order #2, and that Gryphon

assigned or sub-delegated its rights under the MSA and Order #2 to Sphere.

       75.      If the Court rules that Sphere and Gryphon share rights and obligations under the

MSA and Order #2, then both are liable for the failure to perform under the MSA and Order #2.

       76.      As a result of the breach, Core has suffered damages in an amount to be determined

at trial but currently believed to be over $100 million, including (1) $62.7 million in construction

costs to build out data-center facilities, (2) $43.2 million in lost profits, and (3) $16 million in

outstanding amounts due and owing under Order #2. The Debtors are entitled to recover these

damages, which far exceed the claims asserted in the Sphere POCs.




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                                       COUNT FOUR
                      (Declaratory Judgment Pursuant to 28 U.S.C. §2201)
                               Sphere Has No Contractual Rights

        77.     The Debtors incorporate by reference each of the above allegations as though fully

set forth herein.

        78.     Pursuant to the Declaratory Judgment Act, “[i]n a case of actual controversy within

its jurisdiction . . . any court of the United States . . . may declare the rights and other legal relations

of any interested party seeking such declaration, whether or not further relief is or could be sought.”

28 U.S.C. §2201(a). Bankruptcy Courts, as units of the district court, have the authority to issue

declaratory judgments.

        79.     Courts have jurisdiction to issue declaratory relief where “[t]he facts alleged, under

all the circumstances, show that there is a substantial controversy, between parties having adverse

legal interests, of sufficient immediacy and reality to warrant the issuance of a declaratory

judgment.” MedImmune, Inc. v. Genetech, Inc., 549 U.S. 118, 127 (2007) (internal quotations and

citation omitted).

        80.     Here, there is an actual, justiciable controversy of sufficient immediacy and reality

to warrant the issuance of a declaratory judgment, which is both necessary and appropriate.

        81.     As set forth above, it is undisputed that Sphere is not a party to the Gryphon Hosting

Agreements. Nevertheless, Sphere asserts it has rights and obligations under the MSA and Order

#2 pursuant to the Sub-License Agreement to which Core is not a party and never agreed to. But

no provision of the Sub-License Agreement effectuates the assignment that Sphere describes. And

in any event, § 8.d of Order #2 explicitly states that the assignment or sub-licensing of any rights

or obligations under the Gryphon Hosting Agreements is conditioned on Sphere satisfying Core’s




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“requirements prior to” that assignment. Sphere never satisfied these requirements and thus has

no rights under the MSA and Order #2.

        82.     The Debtors seek a declaratory judgment that Sphere has no rights under the

Gryphon Hosting Agreements.

                                         COUNT FIVE
                      (Declaratory Judgment Pursuant to 28 U.S.C. §2201)
                             Disallowing Claim for Hosting Deposits

        83.     The Debtors incorporate by reference each of the above allegations as though fully

set forth herein.

        84.     Pursuant to the Declaratory Judgment Act, “[i]n a case of actual controversy within

its jurisdiction . . . any court of the United States . . . may declare the rights and other legal relations

of any interested party seeking such declaration, whether or not further relief is or could be sought.”

28 U.S.C. §2201(a). Bankruptcy Courts, as units of the district court, have the authority to issue

declaratory judgments.

        85.     Courts have jurisdiction to issue declaratory relief where “[t]he facts alleged, under

all the circumstances, show that there is a substantial controversy, between parties having adverse

legal interests, of sufficient immediacy and reality to warrant the issuance of a declaratory

judgment.” MedImmune, 549 U.S. at 127 (internal quotations and citation omitted).

        86.     Here, there is an actual, justiciable controversy of sufficient immediacy and reality

to warrant the issuance of a declaratory judgment, which is both necessary and appropriate.

        87.     As set forth above, the prepayment deposits are not refundable under the terms of

the MSA and Order #2. The Debtors are further entitled to retain the prepayment deposits in full

because neither Gryphon nor Sphere delivered the 70,000 miners set forth in Order #2. This

constitutes a breach of the MSA and Order #2 and caused Core to incur significant financial



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damages that exceed the amount of the hosting-deposits claim asserted in the Sphere POCs

($34,383,713). Because Gryphon and/or Sphere breached the MSA and Order #2 by failing to

deliver the 70,000 miners required to be delivered thereunder, Core was contractually entitled to

declare all amounts due under Order #2 immediately due and payable, suspend service, and/or

terminate the agreements. Because Gryphon and/or Sphere failed to perform under Order #2, Core

was entitled to exercise these contractually proscribed remedies.

        88.     The Debtors seek a declaratory judgment that (1) they are entitled to retain the

prepayment deposits paid pursuant to Order #2, and (2) the claim asserted in the Sphere POCs for

hosting deposits is disallowed pursuant to 11 U.S.C. § 502(b).

                                        COUNT SIX
                   (Declaratory Judgment Pursuant to 28 U.S.C. §2201)
     Disallowing Claims For Alternative Hosting Costs, Storage Fees, and Other Damages

        89.     The Debtors incorporate by reference each of the above allegations as though fully

set forth herein.

        90.     Pursuant to the Declaratory Judgment Act, “[i]n a case of actual controversy within

its jurisdiction . . . any court of the United States . . . may declare the rights and other legal relations

of any interested party seeking such declaration, whether or not further relief is or could be sought.”

28 U.S.C. §2201(a). Bankruptcy Courts, as units of the district court, have the authority to issue

declaratory judgments.

        91.     Courts have jurisdiction to issue declaratory relief where “[t]he facts alleged, under

all the circumstances, show that there is a substantial controversy, between parties having adverse

legal interests, of sufficient immediacy and reality to warrant the issuance of a declaratory

judgment.” MedImmune, 549 U.S. at 127 (internal quotations and citation omitted).




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        92.     Here, there is an actual, justiciable controversy of sufficient immediacy and reality

to warrant the issuance of a declaratory judgment, which is both necessary and appropriate.

        93.     As set forth above, MSA § 5.c provides that Core is not liable for, inter alia, “ANY

CONSEQUENTIAL OR INDIRECT DAMAGES” or “COST OF COVER, ANY INCIDENTAL,

SPECIAL, RELIANCE, EXEMPLARY OR PUNITIVE DAMAGES (IF APPLICABLE), EVEN

IF ADVISED OF THE POSSIBILITY OF SUCH DAMAGES.” This provision bars Sphere from

recovering the asserted alternative hosting costs, storage fees, and damages in “an unliquidated

amount for [] any and all losses and damages arising from Core’s failure to satisfy its obligations

to the Claimant including, but not limited to, consequential, expectation, and reliance damages.”

Sphere POCs ¶¶ 14–16. Additionally, because Gryphon and/or Sphere breached the MSA, Core

had no continuing obligations thereunder and cannot be responsible for the costs that Sphere

incurred after the breach.

        94.     The Debtors seek a declaratory judgment that Sphere’s claims for alternative

hosting fees, storage costs, and unliquidated damages for consequential, expectation, and reliance

damages asserted in the Sphere POCs are disallowed pursuant to 11 U.S.C. § 502(b).

                                        COUNT SEVEN
                      (Declaratory Judgment Pursuant to 28 U.S.C. §2201)
                    Disallowing Claim for Alleged Misappropriation of Bitcoin

        95.     The Debtors incorporate by reference each of the above allegations as though fully

set forth herein.

        96.     Pursuant to the Declaratory Judgment Act, “[i]n a case of actual controversy within

its jurisdiction . . . any court of the United States . . . may declare the rights and other legal relations

of any interested party seeking such declaration, whether or not further relief is or could be sought.”




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28 U.S.C. §2201(a). Bankruptcy Courts, as units of the district court, have the authority to issue

declaratory judgments.

       97.     Courts have jurisdiction to issue declaratory relief where “[t]he facts alleged, under

all the circumstances, show that there is a substantial controversy, between parties having adverse

legal interests, of sufficient immediacy and reality to warrant the issuance of a declaratory

judgment.” MedImmune, 549 U.S. at 127 (internal quotations and citation omitted).

       98.     Here, there is an actual, justiciable controversy of sufficient immediacy and reality

to warrant the issuance of a declaratory judgment, which is both necessary and appropriate.

       99.     As set forth above, Core did not misappropriate Bitcoin that belonged to Sphere,

but developed a solution to correct a mistake where the machine manufacturer shipped and

delivered 297 of Gryphon’s machines marked as Core’s own mining machines. Once Core

realized the mistake, it communicated a fix to Gryphon that put 297 machines online for Gryphon

on a quick turn. Even if Core had retained the Bitcoin generated from Gryphon’s 297 machines

(which it did not), Core was contractually entitled to do so given that Order #2 had long since been

breached and the MSA provides that, in the case of a failure to perform, Core may direct proceeds

from any miners to the Company’s own account until all amounts due have been recovered.

       100.    The Debtors seek a declaratory judgment that (1) they did not misappropriate any

Bitcoin from miners belonging to Gryphon and/or Sphere, and (2) the claim asserted in the Sphere

POCs based on Core’s alleged misappropriation of Bitcoin is disallowed pursuant to 11 U.S.C.

§ 502(b).




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                                       COUNT EIGHT
                      (Declaratory Judgment Pursuant to 28 U.S.C. §2201)
                       MSA Limits Sphere’s Damages to One-Month’s Fee

        101.    The Debtors incorporate by reference each of the above allegations as though fully

set forth herein.

        102.    Pursuant to the Declaratory Judgment Act, “[i]n a case of actual controversy within

its jurisdiction . . . any court of the United States . . . may declare the rights and other legal relations

of any interested party seeking such declaration, whether or not further relief is or could be sought.”

28 U.S.C. §2201(a). Bankruptcy Courts, as units of the district court, have the authority to issue

declaratory judgments.

        103.    Courts have jurisdiction to issue declaratory relief where “[t]he facts alleged, under

all the circumstances, show that there is a substantial controversy, between parties having adverse

legal interests, of sufficient immediacy and reality to warrant the issuance of a declaratory

judgment.” MedImmune, 549 U.S. at 127 (internal quotations and citation omitted).

        104.    Here, there is an actual, justiciable controversy of sufficient immediacy and reality

to warrant the issuance of a declaratory judgment, which is both necessary and appropriate.

        105.    As set forth above, MSA § 5.d. limits Core’s damages as follows:

        COMPANY’S TOTAL LIABILITY TO THE CLIENT IN THE AGGREGATE FOR THE
        ENTIRE TERM (REGARDLESS OF WHETHER THE CLAIMS ARE BROUGHT
        DURING OR AFTER THE TERM) WITH RESPECT TO ALL CLAIMS ARISING
        FROM OR RELATED TO THE SUBJECT MATTER OF THIS AGREEMENT . . . WILL
        NOT EXCEED AN AMOUNT EQUAL TO ONE (1) MONTHS FEE PAYABLE TO
        COMPANY PURSUANT TO THE APPLICABLE ORDER.

        106.    The Debtors seek a declaratory judgment that (1) MSA § 5.d limits any claim

arising under the Gryphon Hosting Agreements, including those asserted in the Sphere POCs, to

one-month’s fee, (2) Sphere cannot recover more than one-month’s fee on its claims asserted in




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the Sphere POCs, and (3) the one-month’s fee is at most $84,658.94, based on the last monthly

invoice that Core sent to Gryphon.

                                       COUNT NINE
                      (Declaratory Judgment Pursuant to 28 U.S.C. §2201)
                                           Setoff

        107.    The Debtors incorporate by reference each of the above allegations as though fully

set forth herein.

        108.    Pursuant to the Declaratory Judgment Act, “[i]n a case of actual controversy within

its jurisdiction . . . any court of the United States . . . may declare the rights and other legal relations

of any interested party seeking such declaration, whether or not further relief is or could be sought.”

28 U.S.C. §2201(a). Bankruptcy Courts, as units of the district court, have the authority to issue

declaratory judgments.

        109.    Courts have jurisdiction to issue declaratory relief where “[t]he facts alleged, under

all the circumstances, show that there is a substantial controversy, between parties having adverse

legal interests, of sufficient immediacy and reality to warrant the issuance of a declaratory

judgment.” MedImmune, 549 U.S. at 127 (internal quotations and citation omitted).

        110.    Here, there is an actual, justiciable controversy between the Debtors and Sphere of

sufficient immediacy and reality to warrant the issuance of a declaratory judgment, which is both

necessary and appropriate.

        111.    As set forth above, the Debtors have suffered damages as a result of Gryphon’s

and/or Sphere’s failure to deliver the 70,000 miners set forth under Order #2 including (1) $62.7

million in construction costs to build out data-center facilities, (2) $43.2 million in lost profits, and

(3) $16 million in outstanding amounts due and owing under Order #2. These amounts far exceed

the claims asserted in the Sphere POCs.



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        112.    The Debtors seek a declaratory judgment that, to the extent Sphere is entitled to any

recovery under the Sphere POCs, the Debtors are entitled to setoff any such recovery by the

amounts owed by Sphere and/or Gryphon as a result of the breach of Order #2.

                                        COUNT TEN
                      (Declaratory Judgment Pursuant to 28 U.S.C. §2201)
                    Gryphon Hosting Agreements Are Not Executory Contracts

        113.    The Debtors incorporate by reference each of the above allegations as though fully

set forth herein.

        114.    Pursuant to the Declaratory Judgment Act, “[i]n a case of actual controversy within

its jurisdiction . . . any court of the United States . . . may declare the rights and other legal relations

of any interested party seeking such declaration, whether or not further relief is or could be sought.”

28 U.S.C. §2201(a). Bankruptcy Courts, as units of the district court, have the authority to issue

declaratory judgments.

        115.    Courts have jurisdiction to issue declaratory relief where “[t]he facts alleged, under

all the circumstances, show that there is a substantial controversy, between parties having adverse

legal interests, of sufficient immediacy and reality to warrant the issuance of a declaratory

judgment.” MedImmune, 549 U.S. at 127 (internal quotations and citation omitted).

        116.    Here, there is an actual, justiciable controversy between the Debtors and Sphere of

sufficient immediacy and reality to warrant the issuance of a declaratory judgment, which is both

necessary and appropriate.

        117.    As set forth above Gryphon and/or Sphere failed to deliver the 70,000 miners

required to be delivered under Order #2, thus breaching the MSA and Order #2 and extinguishing

Core’s obligation to continuing hosting miners under the Gryphon Hosting Agreements. Despite

this, Core continued to host approximately 639 miners as an accommodation to Gryphon even



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though Gryphon breached the Gryphon Hosting Agreements and Core had no continuing

contractual obligations thereunder.

       118.    The Debtors seek a declaratory judgment that the Gryphon Hosting Agreements are

not executory contracts as Core has no continuing obligations thereunder. In the alternative, the

Debtors seek (1) an order authorizing rejection of the Gryphon Hosting Agreements as an exercise

of the Debtors’ sound business judgment pursuant to 11 U.S.C. § 365(a), and (2) a declaratory

judgment that, in light of Gryphon’s and Sphere’s breach of the Gryphon Hosting Agreements,

Gryphon and Sphere are barred from asserting rejection damages pursuant to 11 U.S.C. § 502(g).

                                      PRAYER FOR RELIEF

WHEREFORE, the Debtors respectfully request the following relief:

           a) Consolidation of the Court’s adjudication of the Complaint and the Sphere

               Contested Matter;

           b) Judgment that Sphere and/or Gryphon breached the MSA and Order #2 by failing

               to perform thereunder;

           c) Judgment for the Debtors in an amount to be determined at trial but currently

               believed to be at least $100 million;

           d) Declaratory judgment that Sphere has no rights under the Gryphon Hosting

               Agreements;

           e) Declaratory judgment that (1) the Debtors are entitled to retain the prepayment

               deposits paid pursuant to Order #2, and (2) the claim asserted in the Sphere POCs

               for hosting deposits is disallowed pursuant to 11 U.S.C. § 502(b);

           f) Declaratory judgment that Sphere is not entitled to recover alternative hosting fees,

               storage costs, and unliquidated damages for consequential, expectation, and



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       reliance damages asserted in the Sphere POCs and that those claims are disallowed

       pursuant to 11 U.S.C § 502(b);

    g) Declaratory judgment that (1) the Debtors did not misappropriate any Bitcoin from

       miners belonging to Gryphon and/or Sphere, and (2) the claim asserted in the

       Sphere POCs based on the alleged misappropriation of Bitcoin is disallowed

       pursuant to 11 U.S.C. § 502(b);

    h) Declaratory judgment that (1) MSA § 5.d limits any claim arising under the

       Gryphon Hosting Agreements, including those asserted in the Sphere POCs, to one-

       month’s fee, (2) Sphere cannot recover more than one-month’s fee on its claims

       asserted in the Sphere POCs, and (3) the one-month’s fee is at most $84,658.94,

       based on the last monthly invoice that Core sent to Gryphon;

    i) Declaratory judgment that the Gryphon Hosting Agreements are not executory

       contracts as Core has no continuing obligations thereunder. In the alternative, the

       Debtors seek (1) an order authorizing rejection of the Gryphon Hosting Agreements

       as an exercise of the Debtors’ sound business judgment pursuant to 11 U.S.C.

       § 365(a), and (2) a declaratory judgment that, in light of Gryphon’s and Sphere’s

       breach of the Gryphon Hosting Agreements, Gryphon and Sphere are barred from

       asserting rejection damages pursuant to 11 U.S.C. § 502(g);

    j) Judgment disallowing the Sphere POCs;

    k) Judgment applying a setoff based on the damages the Debtors have suffered as set

       forth herein; and

    l) Judgment awarding such additional and further relief as this Court deems just and

       proper under the circumstances



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Dated: November 21, 2023
Houston, Texas

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                                   Counsel for Debtors and Debtors in Possession
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                             Exhibit 1

                     Master Services Agreement
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                                  MASTER SERVICES AGREEMENT

                                    Agreement                                12         Effective Date
                                      Company                                                     Client

WHEREAS, Client desires access to locate its Client Equipment (as defined below) at the Company Facility
(as defined below) and receive certain Services (as defined below); and

WHEREAS, Company desires to provide such Services at its Company Facility.

The parties agree as follows:

1.      AGREEMENT STRUCTURE

a.
including, without limitation, colocation, hosting, rack space, security, monitoring, maintenance, utilities,
Client Equipment maintenance and repair, facility management, account management, network and data
                                                                          Services
owned or oper                                      Company Facility
described in mutually executed ordering documents in the form of Exhibit A attached hereto that reference
                                        Orders                       be a separate agreement between
Company and Client and will be deemed to incorporate the terms of this Agreement by reference. Company
may require Customer to provide evidence of creditworthiness or credit support acceptable to Company in its
sole discretion as a condition to accepting any Order. In the event of any conflict or inconsistency between
the terms of this Agreement and the specific terms of an Order, the specific terms of the Order govern with
respect to such Order.

2.      SERVICES AND COMPANY FACILITY

a.        Company will provide Client the Services at a Company Facility set forth in an Order. This
Agreement is not intended to and does not constitute a lease of any real or personal property or a grant of any
other real property interest. Unless otherwise set forth in an Order, Client Equipment is owned by Client
will not be construed as fixtures or fittings or otherwise attached to a Company Facility. Company retains
title to all racking, connectors, fittings, parts and other materials used or provided by Company at a
Company Facility to provide Client the Services. Client acknowledges and agrees that access to a Company

written consent, which shall be subject in all events to the terms of this Agreement and may be withheld,

accessing Company Facility on its behalf.


b.      Company has the right to review and the sole right to approve any delivery, installation (including,
without limitation, the location and position of Client Equipment at the Company Facility), replacement or
                                                                                            Client
Equipment
Company at a specified Company Facility on or before the applicable scheduled delivery date, each as
specified in an Order. Client will be responsible for all risk of loss or damage to Client Equipment at all
times until such Client Equipment is accepted by Company at a designated Company Facility.

c.                                                                                       d regulations,
including, without limitation, equipment labeling and tracking and security practices and policies for the
Company Facility, all of which are incorporated herein by this reference. If Company determines in its sole


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discretion that Client Equipment or related operating software does not conform to its policies or is not
suitable for the provision of Services at the Company Facility, Company may suspend installation of Client
Equipment and operating software or commencement of the Services until Company approves of the Client
Equipment and operating software. Company has no responsibility or liability for any loss or damage to
Client Equipment, including without limitation any damage to Client Equipment, failure to adhere to any
manufacturer warranty, the voiding of any manufacturer warranty or loss of or inability to collect under any
manufacturer warranty, unless directly caused by the gross negligence, bad faith or willful misconduct of
Company.

d.      Client is responsible for costs and expenses regarding the installation, repair, replacement and
removal of Client Equipment and tariffs, taxes, shipping costs or other expenses associated with owning,
shipping, importing or transporting Client Equipment. Upon any expiration or termination of an applicable
                                                                                            Retrieval Notice

sole expense. Such notice will document the condition of Client Equipment being prepared for shipment, any
outstanding amounts owed by Client to Company and Client shall have five (5) calendar days from the date
set forth in the Retrieval Notice to pay any outstanding amounts owed to Compan
sole cost and expense Client Equipment from Company Facility. Client will hold Company harmless from
any damage caused to Client Equipment during such pickup and removal of Client Equipment. The failure
or delay by Client to retrieve Client Equipment on or before the date set forth in the Retrieval Notice will
constitute abandonment of Client Equipment under the laws of the jurisdiction where the Client Equipment is
                                                                   isk and expense all available remedies,
including, without limitation, the actions set forth in Section 4(d), as applicable.

e.       In order to continue to provide the Services, from time to time Company may request, and Client
shall promptly provide, informat


f.      If software and services of a third party are requested by Client in conjunction with the Services
  Third Party Services
Services are the responsibility of the third party, subject to separate terms and conditions between such third
party and Client and Company accepts no responsibility for the performance of such Third Party Services or
any loss or damage arising from or associated with the provision of such Third Party Services.

3.      PAYMENT TERMS AND TAXES

a.      Company will invoice Client monthly in advance for all applicable fees for use of Company Facility
and provision of Services as set forth in the applicable Order. Client will pay all invoiced amounts in US
dollars within ten (10) calendar days of the date of the invoice. All payments must be (i) in US dollars into
an ACH account number as set forth in the applicable Order; or (ii) to another account or form of payment
directed by Company. Interest shall be charged on past due amounts at the lesser of (A) one and a half
percent (1.5%) per month; or (B) the highest rate permitted by applicable law.

b.                                                                             Disputed Amount
submitting a written notice of such dispute along with reasonable supporting documentation within three (3)
calendar days of the date of the initial invoice on which the Disputed Amount appears, failing which Client
waives all rights to dispute such Disputed Amount and to file any claim. Company will review the Disputed
Amount after its receipt of the relevant notice and if Company determines that Client was billed in error, a
credit for the amount invoiced incorrectly will be made to the next invoice. If Company determines that the
amount was invoiced correctly, Client will pay the amount by the due date of the next invoice. For clarity,
Client shall promptly pay all undisputed amounts.



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c.      All amounts payable to Company under this Agreement exclude applicable taxes. Client is
responsible for (i) taxes related to its activities and the ownership and operation of Client Equipment; and (ii)
taxes imposed, levied or assessed thereon by any governmental or other authorities. If Client is required to
make any deduction, withholding or payment for taxes in any jurisdiction on amounts payable to Company,
such amounts will be increased such that after making such deduction, Company receives an amount equal to
what it would have received if such deduction, withholding or payment had not been made.

4.      TERM, TERMINATION, MODIFICATION AND SUSPENSION

a.        This Agreement commences on the Effective Date and continues until terminated as permitted by
this Agreement. Each Order commences on the effective date set forth in the Order, has the initial term
   Initial Term                                                                         onal periods set
                                                                                        Renewal term
                   Term
before such renewal of its desire for the order not to renew.

b.       Either party may terminate an Order upon written notice to the other party and take such other action
identified in Section 4 d. below if the other party materially breaches such Order or this Agreement and fails
to cure such breach within thirty (30) calendar days (5 days in the case of failure to pay an Unpaid Balance
(as defined below) or 2 days in the case of failure to pay an Unpaid Balance two or more times during any
twelve month period). If the breach (other than Client failure to pay amounts when due) cannot be cured
within thirty (30) calendar days, the breaching party shall be given a reasonable period of time, but not to
exceed sixty (60) calendar days after receipt of the notice, to cure the breach, provided that the breaching
party acts promptly and diligently to cure such breach.

c.     Either party may terminate this Agreement upon written notice to the other party if there have been
no Orders in effect for twelve (12) consecutive months.

d.      In addition to the remedy set forth in Section 4 b. above if Client fails to pay all invoiced amounts
               Unpaid Balance
after opportunity to cure as provided in Section 4 b above Company may, in its sole discretion, take certain


        (i)     suspend the provision of the Services;
        (ii)    disconnect Client Equipment and store it;
        (iii)   declare all amounts due under the applicable Order through the balance of the Term to be
                immediately due and payable;
        (iv)
                                                                                                ompany has
                recovered all amounts due, including, without limitation, any reinstatement, disconnection or
                storage fees or costs;
        (v)     terminate this Agreement and all Orders; and
        (vi)    exercise all other rights under this Agreement, at law, in equity or otherwise.

Unless Company has terminated this Agreement, Company will reverse the suspension of the provision of
the Company Facility and Services and disconnection of Client Equipment as soon as reasonably practical
after it is satisfied Client has cured the acts or omissions giving rise to the suspension and disconnection. In
connection with the foregoing, Company may charge a reinstatement fee. Thereafter, Company may, at its
sole discretion, require an advance payment equal to the amount of one billing invoice.


e.      Notwithstanding anything in this Agreement to the contrary, Company may suspend its provision of


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all or a portion of the Services and disconnect all of a portion of Client Equipment immediately if Company
                                               use of the Services or Client Equipment (i) may adversely

                                                                                                         s

which may be via email or telephone, of such suspension or disconnection. Company will use commercially
reasonable efforts to reverse such suspension or disconnection as soon as reasonably practical after it is
satisfied that Client has cured the acts or omissions giving rise to such suspension and disconnection. In
connection with the foregoing, Company may charge a reinstatement fee as set forth in the applicable Order.
Further, Company may terminate this Agreement and all Orders if such suspension or disconnection
continues for at least two (2) calendar days or occurs more than three (3) times in any twelve (12) month
period. For clarity, during the period of suspension or disconnection, Client remains responsible for all fees
and charges Client incurs during such period. Further, after the Effective Date, if Company determines in its
sole and absolute discretion that as a result of any change in, or interpretation, introduction or administration
of, any laws, regulations, statutes, treaties, rules, guidelines, ordinances, codes or the like, or any proposed or
anticipated changes in, or interpretations, introduction or administration of the foregoing         Change in
Law
Company may, in its commercially reasonable discretion, take certain actions, including, without limitation,
                                      le risk and expense: (i) terminate this Agreement, any or all Orders;
and/or (ii) modify the Services as may be necessary to account for such Change in Law. Company will use
commercially reasonable efforts to notify Client of such Company actions and the effective date of such
actions.

f.      Further, and notwithstanding the Change in Law related costs above, after the Effective Date, if there
are any increases, changes in, or introduction or administration of, any new taxes, levies, tariffs or
governmental fees and charges with respect to the provision of Services, Company may, in its sole and
                                                               Increased Costs
Increased Costs in accordance with the payment and invoicing procedures as set forth in this Agreement.

g.       Company shall not be liable for any Client loss or damage whatsoever as a result of the exercise of
its rights under this Agreement. Upon termination of this Agreement or an Order by Company, Company is
entitled to recover from Client all loss or damages incurred by Company as a result of such termination,
outstanding fees, costs, charges, assessments, reimbursements, and expenses (including, without limitation,
                                                 s).

h.      In addition to Section 4(f), the Company may terminate or suspend all or a portion of the Services if
necessary to be in compliance with applicable law, rules, regulations, administrative or judicial orders or
decree. Company will use commercially reasonable efforts to notify Client, which may be via email or
telephone, of such suspension. Client agrees that the Company shall have no liability whatsoever to Client
for any damage, loss, expense or cost as a result of such termination or suspension.

5.      WARRANTIES, LIMITATION OF LIABILITY, INDEMNITY

a.       Each party represents, warrants, and covenants that it has full legal capacity, right, power and
authority to execute and perform its obligations under this Agreement. Company represents, warrants, and
covenants that it will provide Company Facility and perform the Services in a professional and workmanlike
manner. Client represents, warrants, and covenants (i) Client owns and has good title to Client Equipment,
free and clear of any mortgage, pledge, lien, charge, security interest, claim or other encumbrance or has
interest in Client Equipment as part of a financing or other arrangement disclosed and approved by
Company; (ii) Client Equipment has no defects, is in good condition and is adequate for the purpose it will
be used, and is not in need of maintenance or repair except for ordinary, routine maintenance and repairs that
are not material in nature or cost; (iii) Client Equipment has not experienced any failure or outage and has


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not been modified in any way from its original manufactured condition; (iv) Client Equipment is in a
condition suitable for continued optimal cryptocurrency mining operations, including, without limitation, in
the same manner as conducted prior to the Effective Date; (v) Client Equipment has been operated at all
times indoors in an appropriate temperature-
recommended temperatures and operating conditions; (vi) Client Equipment has always been transported
and/or handled in a protected manner normally expected when transporting and/or handling sensitive
computer hardware; (vii) Client will use the Services only for lawful purposes, and Client will not transmit,
retransmit or store material with or in Client Equipment or with or in Company Facility in violation of any
federal or state law or regulations or local code, rule, regulation or ordinance; and (viii) Client will comply
with applicable laws and regulations in connection with this Agreement. Without limiting the foregoing,
Client further represents, warrants, and covenants neither Client, any officer, director, employee, partner,

will use or disclose non-public information obtained from Company, (B) has violated or will violate
applicable anti-bribery or anti-corruption laws, including the U.S. Foreign Corrupt Practices Act and the
U.K. Bribery Act 2010, (C) has violated or will violate applicable anti-money laundering statutes, or (D) is a
Denied Party or subject to any U.S. sanction imposed by the Office of Foreign Assets Control of the U.S.
Department of the Treasury.

b.    EXCEPT AS OTHERWISE SET FORTH IN THIS AGREEMENT, COMPANY DOES NOT
MAKE AND HEREBY DISCLAIMS ALL WARRANTIES       , INCLUDING, WITHOUT LIMITATION,
EXPRESS, IMPLIED AND STATUTORY WARRANTIES THAT COMPANY FACILITY OR SERVICES
WILL BE UNINTERRUPTED, ERROR-FREE, OR COMPLETELY SECURE, AND THE IMPLIED
WARRANTIES OF MERCHANTABILITY OR SATISFACTORY QUALITY, FITNESS FOR A

PROPERTY RIGHTS. ALL COMPANY FACILITY AND SERVICES ARE PROVIDED OR

FACILITY AND SERVICES IS SOLELY AT ITS OWN RISK. CLIENT ACKNOWLEDGES AND
AGREES THAT COMPANY DOES NOT AND CANNOT CONTROL THE FLOW OF DATA OR

WHICH ARE PROVIDED OR CONTROLLED BY THIRD PARTIES, AND THAT ACTIONS OR

THE INTERNET OR POWER GRID (OR PORTIONS THEREOF) INCLUDING, WITHOUT
LIMITATION, INTERRUPTIONS IN SERVICE CAUSED BY GOVERNMENT REGULATIONS OR
ORDERS, SYSTEM CAPACITY LIMITATIONS OR LIMITATIONS IMPOSED BY, OR FAILURES OF,
AN UNDERLYING COMMUNICATIONS CARRIER. COMPANY WILL ENDEAVOR TO TAKE
ACTIONS IT DEEMS APPROPRIATE IN ITS SOLE DISCRETION TO REMEDY AND AVOID SUCH
EVENTS. HOWEVER, COMPANY CANNOT AND DOES NOT GUARANTEE THAT SUCH EVENTS
WILL NOT OCCUR, AND COMPANY DISCLAIMS ANY AND ALL LIABILITY RESULTING FROM
OR RELATED TO SUCH EVENTS. COMPANY HEREBY DISCLAIMS ALL RESPONSIBILITY FOR

THIRD PARTIES.

c.    NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THIS AGREEMENT, IN NO
EVENT WILL EITHER PARTY BE LIABLE TO THE OTHER PARTY FOR (I) LOST PROFITS; (II)
LOSS OF BUSINESS; (III) LOSS OF REVENUES (EXCEPT THAT CLIENT SHALL BE LIABLE FOR
ANY FEES OR OTHER AMOUNTS OWED TO COMPANY UNDER THIS AGREEMENT); (IV) LOSS,
INTERRUPTION OR USE OF DATA OR LOSS OF USE OF CLIENT EQUIPMENT; (V) ANY
CONSEQUENTIAL OR INDIRECT DAMAGES; OR (VI) COST OF COVER, ANY INCIDENTAL,
SPECIAL, RELIANCE, EXEMPLARY OR PUNITIVE DAMAGES (IF APPLICABLE), EVEN IF
ADVISED OF THE POSSIBILITY OF SUCH DAMAGES.

d.      NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THIS AGREEMENT,


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(REGARDLESS OF WHETHER THE CLAIMS ARE BROUGHT DURING OR AFTER THE TERM)
WITH RESPECT TO ALL CLAIMS ARISING FROM OR RELATED TO THE SUBJECT MATTER OF

EXCEED AN AMOUNT EQUAL TO ONE (1) MONTHS FEE PAYABLE TO COMPANY PURSUANT
TO THE APPLICABLE ORDER.

e.      EXCEPT FOR CL

OR WILLFUL MISCONDUCT, THE LIMITATIONS SET FORTH IN SECTIONS 5 c AND 5 d WILL
APPLY TO ALL CLAIMS AND CAUSES OF ACTION, REGARDLESS OF WHETHER IN CONTRACT,
TORT, STRICT LIABILITY OR OTHER THEORY.

f.       Client hereby waives the right to bring any claim against Company arising out of or in any way
relating to an Order more than one (1) year after the date such Order expires or is terminated. Each party
recognizes and agrees that the warranty disclaimers, limitations of liability and remedy limitations in this
Agreement are materially bargained for by the parties.

g.      Client acknowledges that cryptocurrency price movement, cryptocurrency difficulty, and legal and
regulatory risks could have a material adverse impact on cryptocurrencies, cryptocurrency mining, Client
Equipment, Services, and this Agreement. Client assumes responsibility for all such risks, and Company
disclaims all types of liabilities or loss of funds that may arise as a result.

h.       Client shall indemnify, defend and hold harmless Company and its affiliates, stockholders, directors,
officers, employees, subcontractors and invitees from and against any losses, liabilities, damages, costs and


Equipment; (ii



Services or Client Equipment; (vi) any change in, or interpretation or administration of, any laws,
regulations, statutes, treaties, rules, guidelines, ordinances, codes or the like, or any proposed or anticipated

non-standard software or firmware in connection with the Client Equipment.

6.      CONFIDENTIAL INFORMATION

a.      Each party acknowledges that it and its employees or agents may, in the course of performing its
responsibilities under this Agreement, be exposed to or acquire information which is proprietary to or
confidential to the other party, including, without limitation, business plans, strategies, forecasts and
projections and information about business structures, operations, systems, finances, assets, investments,
investment strategies, software and other technology systems, and personnel, customers and suppliers
                Confidential Information
address and location of the Company Facilities (which is deemed to be not publicly known), the Services
provided, equipment used at the Company Facilities, the configuration of cables, networks and services at the
Company Facilities and the terms of this Agreement. Neither party may use or copy any Confidential
Information except to the limited extent necessary to perform its obligations under this Agreement and will
not disclose any Confidential Information to any person or entity other than to its employees who have a
need to know the Confidential Information or as otherwise expressly permitted by this Agreement. Each
party shall use the same measures that it uses to protect its own most confidential and proprietary information
to protect the Confidential Information from use or disclosure in violation of this Agreement, but in no event


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less than commercially reasonable measures.

b.      The restrictions on use of Confidential Information do not apply to information if it (i) is known to
the receiving party prior to receipt from the disclosing party directly or indirectly from a source other than
one having an obligation of confidentiality to the disclosing party; (ii) becomes known (independently of
disclosure by the disclosing party) to the receiving party directly or indirectly from a source other than one
having an obligation of confidentiality to the disclosing party; (iii) becomes publicly known or otherwise
ceases to be confidential, except through a breach of this Agreement by the receiving party; or (iv) is
independently developed by the receiving party. For the avoidance of doubt, the mere placement of
materials or equipment containing information at a Company Facility does not constitute disclosure of such
information to Company.

c.       Upon termination or expiration of this Agreement, or at any other time at the request of the other
party, each party shall return to the other party, or destroy and delete, as applicable, all Confidential
Information and any copies thereof in its possession or control.

d.                                                                     arks, trade names, copyrights, other
intellectual property rights or other designations in any promotion, publication or press release without the
prior written consent of the other party in each case, which consent may be given in an Order.

e. Notwithstanding any contrary provisions in this Agreement, if Client requests or suggests changes to

     Company the right to freely incorporate such changes or sugges
     services without restriction.


7.      INSURANCE

a.       Client agrees to maintain the following insurance, at its expense, during the Term, with insurers
having a minimum AM Best rating of A- VII or S&P rating of A: (i) Commercial General Liability or Public
Liability Insurance with a limit of US $2,000,000 per occurrence, US $4,000,000 in the aggregate (or the
local currency equivalent), provided these limits may be achieved through a combination of primary and
excess policies and such insurance will include coverage for bodily injury and property damage.

b.       Client will furnish Company with certificates of insurance upon request that evidence the minimum
levels of insurance set forth herein, list Company as an additional insured or interested party on the

and non-
non-renewal or cancellation of the policies referenced above.

8.      MISCELLANEOUS

a.       Notice. Except where expressly provided in this Agreement or an Order, all notices, consents, or
approvals required by this Agreement will only be in writing and sent by overnight courier, certified or
registered mail, overnight delivery requiring a signature upon receipt, or delivery by hand to the parties at the
respective addresses set forth on the first page of this Agreement. Notice is effective when received.

b.       Entire Agreement. This Agreement constitutes the entire agreement between the parties with respect
to the subject matter of this Agreement, and supersedes and replaces all prior or contemporaneous
discussions, negotiations, proposals, understandings and agreements, written or oral, as well as any industry
custom. Each party acknowledges that, in entering into this Agreement, it has not relied on, and shall have
no right or remedy in respect of, any statement, representation, assurance or warranty other than as expressly

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set out in this Agreement. This Agreement may be executed in two (2) or more counterparts (and the
signature pages may be delivered with ink or electronic signature or by e-mail), each will be deemed an
original, but all together will constitute one and the same instrument. Except where otherwise expressly
provided in this Agreement, this Agreement may be amended only by the written agreement of both parties.

c.      Survival. Any provision of this Agreement, which, by its nature, would survive termination or
expiration of this Agreement will survive any such termination or expiration, including, without limitation,
those provisions concerning confidentiality, indemnification and limitation of liability.

d.       Subcontracting and Assignment. Company may permit any affiliate, independent contractor or other
third party to perform any of
liable for the performance of its obligations. Company may assign, delegate, or transfer this Agreement or
any of its rights and obligations hereunder without notice to or prior written consent of Client. Client may
not assign, delegate or transfer this Agreement or any of its rights and obligations hereunder without the prior
written consent of Company. Any assignment or transfer in violation of this Agreement is void. This
Agreement will be binding upon and inure to the benefit of all permitted successors and assigns. Nothing in
this Agreement is intended to or will confer upon any third party any right, benefit or remedy of any nature
whatsoever under or by reason of this Agreement

e.       Force Majeure
party will be responsible or in any way liable to the other party, and neither party will have any termination
or other rights, arising out of or relating                                Force Majeure Event
the other party to perform any of its obligations under this Agreement if such failure is caused by events or
circumstances beyond its reasonable control, including, without limitation, acts of God, war, labor strike,
terrorist act, fire, flood, earthquake, landslide, hurricane, typhoon, tsunami, volcanic eruption, inclement
weather, health epidemic or any law, order, regulation or other action of any governing authority or agency.

f.       Governing Law and Arbitration. This Agreement and all claims arising out of or related to this
Agreement are governed by and construed in accordance with the laws of the State of Delaware without
giving effect to any choice or conflict of law provision or rule that would cause the application of the laws of
any jurisdiction other than the State of Delaware. Any dispute, claim or controversy arising out of or relating
to this Agreement or the breach, termination, enforcement, interpretation or validity thereof, including,
without limitation, the determination of the scope or applicability of this Agreement to arbitrate, shall be
determined exclusively by arbitration in King County, Washington before three (3) arbitrators. The
arbitration shall be administered by JAMS pursuant to its Comprehensive Arbitration Rules & Procedures.
                                                         Award
any court of competent jurisdiction, and each party shall submit to any court of competent jurisdiction for
purposes of the enforcement of any Award. The arbitrator may, in the Award, allocate all or part of the costs

the prevailing party.

g.      General. The rights and remedies provided for herein are cumulative and not exclusive of any rights
or remedies that a party would otherwise have. The parties are independent contractors, and this Agreement
does not establish any relationship of partnership, joint venture, employment, franchise or agency between

written consent. There are no third-party beneficiaries to this Agreement. No waiver of any breach of any
provision of this Agreement will constitute a waiver of any prior, concurrent or subsequent breach of the
same or any other provisions hereof, and no waiver will be effective unless made in writing and signed by an
authorized representative of the waiving party.

                                           [Signature page follows]



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Core Scientific, Inc.                         Gryphon Digital Mining, Inc.


By: ________________________________          By: ________________________________

Name: ___________________                     Name: ______________________________

Title: Authorized Representative              Title: _______________________________

Date: _______________________________         Date: _______________________________




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                             MASTER SERVICES AGREEMENT ORDER #1
         This Order, including the terms and conditions hereunder, incorporates by reference the terms of the
Master Services Agreement dated as of September __, 2021            Agreement
(as defined below). If any terms of this Order conflict with the terms of the Agreement, the terms of this Order
shall govern with respect to this Order. Capitalized terms used but not defined in this Order shall have the
meanings ascribed in the Agreement.
 Commencement Date:                  As of August 31, 2021.
 Facility:                          Company Facility as determined by Company.
 Client Equipment hosted**:           Manufacturing          Quantity & Type of Unit             Assumed power
                                      Batch Month                                             consumption per Unit
                                                                                                    (KWh):
                                    N/A                     100 S19j                         3.203


 Hosting-Services Rate:             USD $0.07/ KWh
 Payment Due Prior to               USD $100,660.00 on or before August 31, 2021 consisting of:
 Installation:                             $98,160.00 a six-month prepayment for hosting services to be applied as a
                                           credit against future monthly invoices as they become due.
                                           $2,500 Equipment Configuration Fee

 Estimated Delivery Date:           August 31, 2021. Client to notify Company as soon as reasonably possible in
                                    advance if Units will not be delivered by this date. Company may terminate this
                                    Order if substantially all the Units are not delivered within 60 days of the
                                    Estimated Delivery Date.
 Fees:                              Equipment Configuration Fee: $25/Unit payable as provided above.
 Fees payable pursuant to           Equipment disconnection fee: $25/Unit
 Section 4 in connection with       Storage Fee: $10/month/Unit
 Service Termination/               Reinstatement fee: $25/Unit
 Suspension                         Equipment Recycle fee: $25/Unit decommissioned or disposed of during the term

Order Term. Subject to acceptance by Company, the term of this Order shall commence on the
Commencement Date and co                                                                            Initial
Term
or (iii) pursuant to Section 4 of the Agreement. Unless earlier terminated, this Order shall automatically renew
for successive 12-                         Renewal Term
forth in the Agreement.

Services. Company and Client agree that all services to be provided by Company to Client shall be provided in
a data center owned or operated by Company or its affiliate which is defined as a company that is wholly
owned or jointly owned but operated and managed by the Company Company Facility

Company Disclosures. Company shall disclose to Client all specifications, procedures, rules, policies
and regulations which relate to, are mentioned in, or are integrated in the Agreement prior to executing
the Agreement and any Order. Company shall not be liable, or assessed any penalty, sanction, installation
suspension, or fine for violation of or failure to comply with any specifications, procedures, rules, policies
and regulations which relate to, are mentioned in, or are integrated in the Agreement which are not
disclosed to Client prior to execution of the Agreement and Order. If Client violates or fails to comply
with any specifications, procedures, rules, policies and regulations which relate to, are mentioned in, or
are integrated in the Agreement which were not disclosed to Client prior to execution of the Agreement
and Order, Company agrees to provide Client reasonable time to comply with such undisclosed



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specifications, procedures, rules, policies and regulations.

Time to Retrieve Client Equipment: Upon the presentation of any Retrieval Notice to Client, Client
shall have fifteen (15) calendar days from the date set forth in the Retrieval Notice to pay any outstanding
                                                                                               from
Company Facility.

Failure or Delay by Client to Retrieve Client Equipment. The failure or delay by Client to retrieve
Client Equipment on or before the date set forth in the Retrieval Notice shall entitle Company to pursue at
                       expense all actions set forth in Section 4(d), as applicable, only, and that any such
failure or delay by Client to retrieve Client Equipment shall not impact legal title to said Client
Equipment.

Time to Dispute Amounts Billed by Company: Client may, in good faith, dispute any Disputed Amount
by submitting a written notice of such dispute along with reasonable supporting documentation within
seven (7) calendar days of the date of the initial invoice on which the Disputed Amount appears, failing
which Client waives all rights to dispute such Disputed Amount and to file any claim.

Remedies and Notice for Change in Law. If a Change in law as defined in the Agreement has resulted
                                                                    in Law then Company may, in its
commercially reasonable discretion, take certain actions, including, without limitation, the following

                  reement to such termination; and/or (ii) modify the Services as may be necessary to
account for such Change in Law.

Notice under Section 4.e. Company shall notify Client of such Company actions described in 4.e as soon
as possible and in no event later than within three (3) calendar days of Company determining that it will
take any action contemplated, described or enumerated in Section 4.e.

Ordinary routine maintenance and repairs. Ordinary, routine maintenance and repairs are defined to
include [routine maintenance of Client Equipment Units, power supply, internet connection].


Limitation of Client Indemnity Obligation. Client shall not be required to indemnity defend or hold
harmless Company and its affiliates, stockholders, directors, officers, employees, subcontractors and
invitees or any other party or person from and against any losses, liabilities, damages, costs and expenses
(including, without limitation, reasonable attorne
interpretation or administration of, any laws, regulations, statutes, treaties, rules, guidelines, ordinances,
codes or the like, or any proposed or anticipated changes in, or interpretations or administration of the
foregoing except if such a change in, or interpretation or administration of, any laws, regulations, statutes,
treaties, rules, guidelines, ordinances, codes or the like, or any proposed or anticipated changes in, or
interpretations or administration of the foregoing, would have the effect of increasing any tax obligation
imposed on Company related to this Agreement and such tax obligation is not otherwise paid by Client.

Exception to Confidential Information provision for agents and contractors. Either party may
disclose Confidential Information its employees, contractors, or agents who have a need to know the
Confidential Information or as otherwise expressly permitted by this Agreement.

Exception to Confidential Information provision for regulatory and legal requirements and
obligations. Notwithstanding any contrary provision in this Agreement, Company acknowledges and
agrees that Client is or intends to become a U.S. publicly traded company and may be required to disclose


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this Agreement and Order in order to comply with applicable securities laws, including its disclosure
obligations under the U.S. Securities Exchange Act of 1934, as amended. Client may therefore disclose
any information that is reasonably necessary to comply with any legal or regulatory requirement or
obligation.

Limitation of Client Damages potentially payable in Force Majeure; Modification of Force Majeure
Definition
Force Majeure event shall be limited to any amounts owed that have already accrued at the time of the
Force Majeure event and any fees and expenses incurred by Company in de racking, packing and
shipping Client equipment as directed by Client. Client and Company agree that any change in change
any change in, or interpretation or administration of, any laws, regulations, statutes, treaties, rules,
guidelines, ordinances, codes or the like, or any proposed or anticipated changes in, or interpretations or
administration of the foregoing, which renders cryptocurrency mining illegal shall be deemed a Force
Majeure Event.

Amendment to Section 5.d of the Agreement. Both Company and Client Agree that section 5.d of the
                                                             O CLIENT IN THE AGGREGATE
FOR THE ENTIRE TERM (REGARDLESS OF WHETHER THE CLAIMS ARE BROUGHT DURING
OR AFTER THE TERM) WITH RESPECT TO ALL CLAIMS ARISING FROM OR RELATED TO
THE SUBJECT MATTER OF THIS AGREEMENT (INCLUDING, WITHOUT LIMITATION,
                  ) WILL NOT EXCEED AN AMOUNT EQUAL TO THREE (3) MONTHS FEE
PAYABLE TO COMPANY PURSUANT TO THE APPLICABLE ORDER.

Prohibition against including Client Equipment Units in any Security Agreement or collateralized
transaction. Company agrees to not include Client Equipment Units in any mortgage, pledge, lien, charge,
security interest, claim or other encumbrance or other instrument granting any third party any rights to the
Client Equipment Units, or otherwise to cause or allow the creation of any lien or cloud on title of the Client
Equipment Units without the express written consent of Client.

Fees. Client shall pay the fees provided for in this Order. The Fees for Services will be determined initially by
reference to the Assumed power consumption per Unit of each deployed Unit, multiplied by the Hosting-Services
Rate (each as set forth above in this Order). Subsequent invoices will contain any additional charges incurred
by Client and adjustments resulting from any differences between the Fees for Services invoiced in the preceding

as well a
for Services for each month shall be paid in advance, in accordance with Section 3 of the Agreement.

Performance Information. Company shall prepare reports of Client performance data related to the Uptime
of the Client Equipment Units, and any costs assessed. Such reports including data related to the Uptime of
Client Equipment Units and costs assessed shall be created on a daily basis and provided to Client upon
                 Such data related to Uptime of the Client Equipment Units shall be reported on a monthly
basis to Client Uptime is defined for each calendar month as an expression of the availability of the Client
Equipment Units as a percentage equal to (a) the difference between the total number of minutes of Downtime
in such month and the total number of minutes in such month, divided by (b) the total number of minutes in
such calendar month. Downtime as used herein means, for each calendar month, time that the Client
Equipment Units are not available to mine digital assets in accordance with this Agreement, excluding periods
of time in which the Client Equipment Units are not available resulting from or relating to: (a) a Force Majeure
Event; (b) scheduled maintenance or emergency maintenance, provided that Company shall provide Client

Agreement; (d) faults or errors in the Client Equ
Agreement; or (e) downtime related to any other forces beyond the reasonable control of Company or its
agents or subcontractors and not avoidable by reasonable due diligence. Client may request one audit per



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Client under this Agreement were calculated in accordance with this Agreement. If that audit reveals that
Company has undercharged Client, then Client shall pay the difference between the charged amount and the
actual amount to Company. Conversely, if an Audit reveals that Company has overcharged Client, then
Company shall pay Client the difference between the charged amount and the actual amount.

Third Party Code. Client shall indemnify, defend and hold harmless Company and its affiliates, stockholders,
directors, officers, employees, subcontractors and invitees from and against any losses, liabilities, damages,
costs and expenses (including, without limitation, re
                                      -standard software or firmware in connection with the Client Equipment.
Notwithstanding any contrary provisions in the Agreement, if Client requests or suggests changes to

                                                                                                           .

Warranty. Company does not make and hereby disclaims all warranties with respect to the Units. Company
shall initiate warranty claims with Unit manufacturer. Company cannot and does not guarantee that warranty
claims will be accepted by manufacturer.

Client Equipment Disclosures. Client shall disclose to Company (a) whether any Client Equipment Units
have been financed or are otherwise subject to any security interest, (b) whether any Client Equipment Units
were previously used, and (c) and shall confirm that Company has all rights and title necessary to comply
with all duties assumed in the Agreement. P rovided such disclosures are made by Client and security interest
                                                                                      Company shall approve
the usage of any Client Equipment Units.
Client agrees and confirms that:

    (i)       It has clean title to the Client Equipment or has otherwise provided Client Equipment Disclosures
              regarding the Client Equipment and has not entered into any agreement that would interfere with
              P
    (ii)
    (iii)     Neither Client nor its customers are subject to any sanctions imposed by the Office of Foreign
              Asset control of the U.S. Department of the Treasury.

**Client agrees to replace sold, damaged and other inoperable Units within 60 days to maintain the aggregate
number of Units subject to this Order, unless Company has been hired to repair the Unit or Units. Additional
equipment may be added to this Order at the Hosted Services Rate provided upon the mutual agreement of
Provider and Client.

 By:_________________________________                       By:____________________________
 Gryphon Digital Mining, Inc.
 Name: ________________________                             Name: __________________________
 Title: ________________________                            Title: __________________________
 Date: _________________________                            Date: ___________________________




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                             Exhibit 2

                             Order # 2
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                             MASTER SERVICES AGREEMENT ORDER #2
         This Order, including the terms and conditions hereunder, incorporates by reference the terms of the
Master Services Agreement dated as of September 12, 2021            Agreement
(as defined below). If any terms of this Order conflict with the terms of the Agreement, the terms of this Order
shall govern with respect to this Order. Capitalized terms used but not defined in this Order shall have the
meanings ascribed in the Agreement.

 Commencement Date:                 As of September 24, 2021 and then the fifteenth of every remaining month
                                    beginning with October 15, 2021 until November 15, 2022, respectively.
 Facility:                          Company Facility as determined by Company.
 Client Equipment hosted**:         Deployment Month         Quantity & Type of Unit             Assumed power
                                                                                              consumption per Unit
                                                                                                     (KWh):
                                    OCT 2021              100 S19 or equivalent             3.255
                                    NOV 2021              100 S19 or equivalent             3.255
                                    DEC 2021              100 S19 or equivalent             3.255
                                    JAN 2022              100 S19 or equivalent             3.255
                                    FEB 2022              100 S19 or equivalent             3.255
                                    MAR 2022              2,500 S19 or equivalent           3.255
                                    APR 2022              5,000 S19 or equivalent           3.255
                                    MAY 2022              7,500 S19 or equivalent           3.255
                                    JUN 2022              10,000 S19 or equivalent          3.255
                                    JUL 2022              10,000 S19 or equivalent          3.255
                                    AUG 2022              10,000 S19 or equivalent          3.255
                                    SEP 2022              10,000 S19 or equivalent          3.255
                                    OCT 2022              10,000 S19 or equivalent          3.255
                                    NOV 2022              4,500 S19 or equivalent           3.255
 Hosting-Services Rate:             USD $0.06175/ KWh; USD $.06/KWh after hosting month 30
 Payment Due Prior to               USD $15,575,025.00 on or before October 12, 2021 consisting of:
 Installation:                             $73,350.00, 100% of the prepayment for hosting services for OCT 2021
                                           Units to be applied as a credit against future monthly invoices as they
                                           become due.
                                           $205,380.00, 70% of the prepayment for hosting services for NOV 2021
                                           FEB 2022 Units to be applied as a credit against future monthly invoices
                                           as they become due.
                                           $15,296,295.00, 30% of the prepayment for hosting services for MAR
                                           2022 NOV 2022 Units ($550,230.00 for MAR 2022: $1,100,460.00 for
                                           APR 2022: $1,650,675.00 for MAY 2022: $2,200,905 for each of JUN
                                           2022, JUL 2022, AUG 2022, SEP 2022, OCT 2022: and $990,405.00 for
                                           NOV Units) to be applied as a credit against future monthly invoices as
                                           they become due.

                                    USD $755,645.00 on or before October 12, 2021 consisting of:
                                          $733,640.00, 40% of the prepayment for hosting services for MAR 2022
                                          Units to be applied as a credit against future monthly invoices as they
                                          become due.
                                          $22,005.00, 30% of the prepayment for hosting services for NOV 2021
                                          Units to be applied as a credit against future monthly invoices as they
                                          become due.
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                   USD $1,489,285.00 on or before November 15, 2021 consisting of:
                          $1,467,280.00, 40% of the prepayment for hosting services for APR 2022
                          Units to be applied as a credit against future monthly invoices as they
                          become due.
                          $22,005.00, 30% of the prepayment for hosting services for DEC 2021
                          Units to be applied as a credit against future monthly invoices as they
                          become due.


                   USD $2,222,905.00 on or before December 15, 2021 consisting of:
                          $2,200,900.00, 40% of the prepayment for hosting services for MAY
                          2022 Units to be applied as a credit against future monthly invoices as
                          they become due.
                          $22,005.00, 30% of the prepayment for hosting services for JAN 2022
                          Units to be applied as a credit against future monthly invoices as they
                          become due.

                   USD $2,956,545.00 on or before January 15, 2022 consisting of:
                          $2,934,540.00, 40% of the prepayment for hosting services for JUN 2022
                          Units to be applied as a credit against future monthly invoices as they
                          become due.
                          $22,005.00, 30% of the prepayment for hosting services for FEB 2022
                          Units to be applied as a credit against future monthly invoices as they
                          become due.

                   USD $3,484,770.00 on or before February 15, 2022 consisting of:
                          $2,934,540.00, 40% of the prepayment for hosting services for JUL 2022
                          Units to be applied as a credit against future monthly invoices as they
                          become due.
                          $550,230.00, 30% of the prepayment for hosting services for MAR 2022
                          Units to be applied as a credit against future monthly invoices as they
                          become due.

                   USD $4,035,000.00 on or before March 15, 2022 consisting of:
                          $2,934,540.00, 40% of the prepayment for hosting services for AUG 2022
                          Units to be applied as a credit against future monthly invoices as they
                          become due.
                          $1,100,460.00, 30% of the prepayment for hosting services for APR 2022
                          Units to be applied as a credit against future monthly invoices as they
                          become due.

                   USD $4,585,215.00 on or before April 15, 2022 consisting of:
                          $2,934,540.00, 40% of the prepayment for hosting services for SEP 2022
                          Units to be applied as a credit against future monthly invoices as they
                          become due.
                          $1,650,675.00, 30% of the prepayment for hosting services for MAY
                          2022 Units to be applied as a credit against future monthly invoices as
                          they become due.

                   USD $5,135,445.00 on or before May 15, 2022 consisting of:
                          $2,934,540.00, 40% of the prepayment for hosting services for OCT 2022
                          Units to be applied as a credit against future monthly invoices as they
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                                            become due.
                                            $2,200,905.00, 30% of the prepayment for hosting services for JUN 2022
                                            Units to be applied as a credit against future monthly invoices as they
                                            become due.

                                    USD $3,521,445.00 on or before June 15, 2022 consisting of:
                                           $1,320,540.00, 40% of the prepayment for hosting services for NOV 2022
                                           Units to be applied as a credit against future monthly invoices as they
                                           become due.
                                           $2,200,905.00, 30% of the prepayment for hosting services for JUL 2022
                                           Units to be applied as a credit against future monthly invoices as they
                                           become due.

                                    USD $2,200,905.00 on or before July 15, 2022 consisting of:
                                           $2,200,905.00, the remaining 30% of the prepayment for hosting services
                                           for AUG 2022 Units to be applied as a credit against future monthly
                                           invoices as they become due.

                                    USD $2,200,905.00 on or before August 15, 2022 consisting of:
                                           $2,200,905.00, the remaining 30% of the prepayment for hosting services
                                           for SEP 2022 Units to be applied as a credit against future monthly
                                           invoices as they become due.

                                    USD $2,200,905.00 on or before September 15, 2022 consisting of:
                                           $2,200,905.00, the remaining 30% of the prepayment for hosting services
                                           for OCT 2022 Units to be applied as a credit against future monthly
                                           invoices as they become due.

                                    USD $990,405.00 on or before October 15, 2022 consisting of:
                                          $990,405.00, the remaining 30% of the prepayment for hosting services
                                          for NOV 2022 Units to be applied as a credit against future monthly
                                          invoices as they become due.


 Estimated Delivery Date:           As of September 24, 2021 and then the fifteenth of every month beginning with
                                    October 15, 2021 until November 15, 2022, respectively.

                                    Client to notify Company as soon as reasonably possible in advance if Units will
                                    not be delivered by this date. Company may terminate this Order if substantially
                                    all the Units are not delivered within 60 days of the Estimated Delivery Date.
 Fees:                              Equipment Configuration Fee: N/A
 Fees payable pursuant to           Equipment disconnection fee: $25/Unit
 Section 4 in connection with       Storage Fee: $10/month/Unit
 Service Termination/               Reinstatement fee: $25/Unit
 Suspension                         Equipment Recycle fee: $25/Unit decommissioned or disposed of during the term


Order Term. Subject to acceptance by Company, the term of this Order shall commence on the
Commencement Date                                                                                     Initial
Term                                                   provided above, (ii) by mutual agreement of the parties,
or (iii) pursuant to Section 4 of the Agreement. Unless earlier terminated, this Order shall automatically renew
for successive 12-                         Renewal Term                                       wal term as set
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forth in the Agreement.

Amendment to Section 8.d of the Agreement. Both Company and Client agree that Section 8.d
(Assignment and Subcontracting) of the Agreement is amended so that Client is permitted to sub-lease,
sub-license, assign, delegate or transfer the Agreement, Order 1 and Order 2, or any of its rights and
obligations hereunder to Sphere 3D Corp. and thereunder without the prior written consent of Company
as long as Sphere 3D Corp. satisfies Company requirements prior to.
Fees. Client shall pay the fees provided for in this Order. The Fees for Services will be determined initially by
reference to the Assumed power consumption per Unit of each deployed Unit, multiplied by the Hosting-Services
Rate (each as set forth above in this Order). Subsequent invoices will contain any additional charges incurred
by Client and adjustments resulting from any differences between the Fees for Services invoiced in the preceding

as well as
Fees for Services for each month shall be paid in advance, in accordance with Section 3 of the Agreement.

Services. Company and Client agree that all services to be provided by Company to Client shall be provided in
a data center owned or operated by Company or its affiliate which is defined as a company that is wholly
owned or jointly owned but operated and managed by the Company Company Facility                         ten
                                              Equipment
Client Equipment is hosted must be Equipment that is owned by Company. If however, there is a single
occupancy restriction at a Company Facility for purposes of maintaining a qualifying data center status
for sales tax purposes, the Client shall have the option to either waive this requirement or pay the requisite
sales tax. In addition, Company covenants that all power provided to Client under this Order 2 shall be
one hundred percent (100%) net carbon neutral. In addition, Company intends to achieve 100% net
carbon neutral status for its mining operations. The Company will achieve and maintain this status by
continuing to increase relationships with power suppliers providing a higher mix of non-carbon emitting
energy sources and by purchasing certified green carbon offset certificates using United States
Environmental Protection Agency guidelines for calculating carbon emissions.


Company Disclosures. Company shall disclose to Client all specifications, procedures, rules, policies
and regulations which relate to, are mentioned in, or are integrated in the Agreement prior to executing
the Agreement and any Order. Company shall not be liable, or assessed any penalty, sanction, installation
suspension, or fine for violation of or failure to comply with any specifications, procedures, rules, policies
and regulations which relate to, are mentioned in, or are integrated in the Agreement which are not
disclosed to Client prior to execution of the Agreement and Order. If Client violates or fails to comply
with any specifications, procedures, rules, policies and regulations which relate to, are mentioned in, or
are integrated in the Agreement which were not disclosed to Client prior to execution of the Agreement
and Order, Company agrees to provide Client reasonable time to comply with such undisclosed
specifications, procedures, rules, policies and regulations.

Time to Retrieve Client Equipment: Upon the presentation of any Retrieval Notice to Client, Client
shall have fifteen (15) calendar days from the date set forth in the Retrieval Notice to pay any outstanding

Company Facility.

Failure or Delay by Client to Retrieve Client Equipment. The failure or delay by Client to retrieve
Client Equipment on or before the date set forth in the Retrieval Notice shall entitle Company to pursue at
                                        ns set forth in Section 4(d), as applicable, only, and that any such
failure or delay by Client to retrieve Client Equipment shall not impact legal title to said Client
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Equipment.

Time to Dispute Amounts Billed by Company: Client may, in good faith, dispute any Disputed Amount
by submitting a written notice of such dispute along with reasonable supporting documentation within
seven (7) calendar days of the date of the initial invoice on which the Disputed Amount appears, failing
which Client waives all rights to dispute such Disputed Amount and to file any claim.

Remedies and Notice for Change in Law. If a Change in law as defined in the Agreement has resulted
                                                                    in Law then Company may, in its
commercially reasonable discretion, take certain actions, including, without limitation, the following

                  reement to such termination; and/or (ii) modify the Services as may be necessary to
account for such Change in Law.

Notice under Section 4.e. Company shall notify Client of such Company actions described in 4.e as soon
as possible and in no event later than within three (3) calendar days of Company determining that it will
take any action contemplated, described or enumerated in Section 4.e.

Ordinary routine maintenance and repairs. Ordinary, routine maintenance and repairs are defined to
include routine maintenance of Client Equipment Units, power supply, internet connection.

Exception to Confidential Information provision for agents and contractors. Either party may
disclose Confidential Information its employees, contractors, or agents who have a need to know the
Confidential Information or as otherwise expressly permitted by this Agreement.

Exception to Confidential Information provision for regulatory and legal requirements and
obligations. Notwithstanding any contrary provision in this Agreement, Company acknowledges and
agrees that Client is or intends to become a U.S. publicly traded company and may be required to disclose
this Agreement and Order in order to comply with applicable securities laws, including its disclosure
obligations under the U.S. Securities Exchange Act of 1934, as amended. Client may therefore disclose
any information that is reasonably necessary to comply with any legal or regulatory requirement or
obligation.

Prohibition against including Client Equipment Units in any Security Agreement or collateralized
transaction. Company agrees to not include Client Equipment Units in any mortgage, pledge, lien, charge,
security interest, claim or other encumbrance or other instrument granting any third party any rights to the
Client Equipment Units, or otherwise to cause or allow the creation of any lien or cloud on title of the Client
Equipment Units without the express written consent of Client.

Performance Information. Company shall prepare reports of Client performance data related to the Uptime
of the Client Equipment Units, and any costs assessed. Such reports including data related to the Uptime of
Client Equipment Units and costs assessed shall be created on a daily basis and provided to Client upon
                 Such data related to Uptime of the Client Equipment Units shall be reported on a monthly
basis to Client Uptime is defined for each calendar month as an expression of the availability of the Client
Equipment Units as a percentage equal to (a) the difference between the total number of minutes of Downtime
in such month and the total number of minutes in such month, divided by (b) the total number of minutes in
such calendar month. Downtime as used herein means, for each calendar month, time that the Client
Equipment Units are not available to mine digital assets in accordance with this Agreement, excluding periods
of time in which the Client Equipment Units are not available resulting from or relating to: (a) a Force Majeure
Event; (b) scheduled maintenance or emergency maintenance, provided that Company shall provide Client

Agreement; (d) f
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Agreement; or (e) downtime related to any other forces beyond the reasonable control of Company or its
agents or subcontractors and not avoidable by reasonable due diligence. Client may request one audit per

Client under this Agreement were calculated in accordance with this Agreement. If that audit reveals that
Company has undercharged Client, then Client shall pay the difference between the charged amount and the
actual amount to Company. Conversely, if an Audit reveals that Company has overcharged Client, then
Company shall pay Client the difference between the charged amount and the actual amount.

Third Party Code. Client shall indemnify, defend and hold harmless Company and its affiliates, stockholders,
directors, officers, employees, subcontractors and invitees from and against any losses, liabilities, damages,

                                    -standard software or firmware in connection with the Client Equipment.
Notwithstanding any contrary provisions in the Agreement, if Client requests or suggests changes to

                                                                                   vices without restriction.

Warranty. Company does not make and hereby disclaims all warranties with respect to the Units. Company
shall initiate warranty claims with Unit manufacturer. Company cannot and does not guarantee that warranty
claims will be accepted by manufacturer.

Client Equipment Disclosures. Client shall disclose to Company (a) whether any Client Equipment Units
have been financed or are otherwise subject to any security interest, (b) whether any Client Equipment Units
were previously used, and (c) and shall confirm that Company has all rights and title necessary to comply
with all duties assumed in the Agreement. P rovided such disclosures are made by Client and security interest
                                                             s under this Agreement, Company shall approve
the usage of any Client Equipment Units.
Client agrees and confirms that:

    (i)       It has clean title to the Client Equipment or has otherwise provided Client Equipment Disclosures
              regarding the Client Equipment and has not entered into any agreement that would interfere with

    (ii)
    (iii)     Neither Client nor its customers are subject to any sanctions imposed by the Office of Foreign
              Asset control of the U.S. Department of the Treasury.

**Client agrees to replace sold, damaged and other inoperable Units within 60 days to maintain the aggregate
number of Units subject to this Order, unless Company has been hired to repair the Unit or Units. Additional
equipment may be added to this Order at the Hosted Services Rate provided upon the mutual agreement of
Provider and Client.

 By:_________________________________                     By:____________________________
 Gryphon Digital Mining, Inc.
 Name: ________________________                           Name: __________________________
 Title: ________________________                          Title: __________________________
 Date: _________________________                          Date: ___________________________
